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                                        No. 23-1362


                   IN THE UNITED STATES COURT OF APPEALS
                             FOR THE FIRST CIRCUIT


                            STATE OF NEW HAMPSHIRE,
                                              Plaintiff-Appellee,
                                           – v. –
                                    3M COMPANY,
                                             Defendant-Appellant.


                 On Appeal from the United States District Court for the
                              District of New Hampshire
                      No. 1:22-cv-145 (Hon. Landya McCafferty)


                       BRIEF OF APPELLANT 3M COMPANY


          Joseph A. Foster                     Michael A. Scodro
          Mark C. Rouvalis                     Gary A. Isaac
          Viggo Fish                           Avi M. Kupfer
          MCLANE MIDDLETON                     MAYER BROWN LLP
          900 Elm Street                       71 South Wacker Drive
          Manchester, NH 03101                 Chicago, IL 60606
          (603) 625-6464                       (312) 782-0600
          joe.foster@mclane.com                mscodro@mayerbrown.com
          mark.rouvalis@mclane.com             gisaac@mayerbrown.com
          viggo.fish@mclane.com                akupfer@mayerbrown.com


                           Counsel for Appellant 3M Company
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                    CORPORATE DISCLOSURE STATEMENT

            Pursuant to Federal Rule of Appellate Procedure 26.1, 3M Company

      certifies that no parent corporation or publicly held corporation owns 10%

      or more of its stock.




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            REASONS WHY ORAL ARGUMENT SHOULD BE HEARD

            This case raises important questions about the construction and ap-

       plication of the statutes that govern federal officer removal. Oral argument

       would assist the Court’s consideration of those issues.




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                                   INTRODUCTION

            New Hampshire brought parallel lawsuits in state court alleging that

       per- and polyfluoroalkyl substances (PFAS) in products made by 3M Com-

       pany and other companies contaminated natural resources statewide. As

       to 3M, the claims in the actions were practically identical except in one re-

       spect. The complaint in this case purported to disavow damages caused by

       contamination from PFAS used in aqueous film-forming foam (AFFF)—a

       product that 3M made for the United States military—and the complaint in

       the other case sought damages solely caused by contamination from PFAS

       used in AFFF.

            New Hampshire filed the duplicative lawsuits to avoid federal court

       for at least some portion of the relief it seeks. New Hampshire knew that

       3M would remove the suit alleging AFFF-related damages to federal court

       pursuant to the federal officer removal statute and then move to transfer it

       to a multidistrict litigation proceeding where thousands of AFFF-related

       lawsuits (including those brought by other States) have been consolidated.

       But New Hampshire attempted to use the AFFF disavowal to insulate this

       suit from federal officer removal, even if that would mean litigating the

       same issues in both state and federal court. That attempt fails.

            3M properly and timely removed this case to federal court pursuant

       to the federal officer removal statute after discovering on its own inquiry




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       that PFAS contamination of several of the at-issue natural resources plau-

       sibly came from AFFF used by the military in addition to non-AFFF sources.

       New Hampshire’s disclaimer notwithstanding, this case therefore relates to

       AFFF that 3M supplied to the military. Ascertaining which damages if any

       are attributable to PFAS from non-AFFF sources as opposed to AFFF

       sources will require complex factfinding regarding where and when the mil-

       itary used 3M’s AFFF, and how and to what extent PFAS from that AFFF

       migrated to the natural resources. Congress has mandated that defendants

       are entitled to have those issues resolved in a federal forum. The istrictt

       court erred in holding that New Hampshire eliminated the case’s connection

       to AFFF by disclaiming damages from AFFF. Under the removal statute, a

       defendant needs to show only that the case is plausibly associated with its

       federal act. This suit easily clears that hurdle.

             In addition, 3M’s removal notice was timely. A defendant generally

       may remove a case on federal officer grounds whenever it discovers that the

       case is removable. That is what 3M did here. It investigated whether any

       of the natural resources in New Hampshire at issue in this lawsuit were

       potentially cross-contaminated by PFAS from AFFF and non-AFFF sources,

       and it removed the case only after uncovering supporting evidence.

             There is an exception to the general timing rule above if the plaintiff

       provides the defendant a case-related document that makes the grounds for

       removal unequivocally clear. In that situation, the defendant must remove

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       the case within 30 days of receiving the document. But here, New Hamp-

       shire did not provide 3M with any document making clear that certain nat-

       ural resources at issue were contaminated by PFAS from AFFF and non-

       AFFF sources. That is unsurprising because New Hampshire was trying to

       camouflage the case’s connection to AFFF in an effort to prevent removal.

       The district court nonetheless held that three separate documents could

       have triggered the 30-day removal period. Yet none of those documents

       mentioned, much less made clear, that the alleged PFAS contamination of

       natural resources at issue in this case stems in part from AFFF. And two

       of those documents could not trigger the removal period in any event, be-

       cause they were not case-related documents that New Hampshire provided

       to 3M.

             The Court should reverse the district court’s order remanding this

       case to state court.

                              JURISDICTIONAL STATEMENT

             3M removed this case to federal district court pursuant to the federal

       officer removal statute, 28 U.S.C. § 1442. The district court entered an or-

       der remanding the case on March 29, 2023. Addendum (“Add.”) 1-36. This

       Court has jurisdiction under 28 U.S.C. § 1447(d), which provides that “an

       order remanding a case to the State court from which it was removed pur-

       suant to [28 U.S.C. § 1442]” is “reviewable by appeal.” 3M timely filed its




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       notice of appeal on April 13, 2023.          Appendix (“A”) 707; see 28 U.S.C.

       § 2107(a); Fed. R. App. P. 4(a)(1)(A).

             New Hampshire filed a motion to summarily dismiss the appeal for

       lack of jurisdiction, which 3M opposed. The Court has not yet ruled on that

       motion.

                             STATEMENT OF THE ISSUES

             1. Whether the district court erred in holding that federal jurisdiction

       is lacking under the federal officer removal statute, 28 U.S.C. § 1442(a)(1).

             2. Whether the district court erred in holding that the case was un-

       timely removed under 28 U.S.C. § 1446(b)(3).

                              STATEMENT OF THE CASE

             A.     Factual Background

                    1.    PFAS are used in a variety of products, including
                          AFFF.

             PFAS are manmade organic chemicals used in consumer goods, such

       as food packaging, nonstick cookware, and stain repellants, as well as in

       certain industrial products. See A56 ¶ 49; A63 ¶¶ 113-14. PFAS are con-

       stituents in AFFF, which is used to extinguish flammable liquid fires. 84

       Fed. Reg. 70,544, 70,545 (Dec. 23, 2019). AFFF is used to protect “civilian

       airfields, refineries, and fuel tank farms,” and it “is in the inventory of al-

       most all fire departments in the United States.” Don DeYoung et al., U.S.

       Naval Research Lab., Fulfilling the Roosevelts’ Vision for American Naval



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       Power     (1923-2005)      37     (June      30,     2006),     https://perma-

       nent.fdlp.gov/gpo125428/roosevelts.pdf (Fulfilling the Roosevelts’ Vision).

                   2.    Cases involving PFAS contamination related to
                         AFFF are consolidated in a multidistrict litigation.

             There are nearly 4,800 pending lawsuits in federal court in which

       plaintiffs raise allegations related to PFAS contamination from AFFF. See

       U.S. Judicial Panel on Multidistrict Litig., MDL Statistics Report – Distri-

       bution of Pending MDL Dockets by District 4 (June 15, 2023).1 The Judicial

       Panel on Multidistrict Litigation (JPML) centralized those lawsuits in a sin-

       gle proceeding in the District of South Carolina. Id.

             Since the lawsuits often involve “the same group of AFFF manufac-

       turers,” the JPML held that consolidation will “promote the just and effi-

       cient conduct of th[e] litigation” for “the parties and witnesses.” In re Aque-

       ous Film-Forming Foams Prods. Liab. Litig., 357 F. Supp. 3d 1391, 1394

       (J.P.M.L. 2018) (AFFF Litig.). The cases present “common questions of fact”

       about, among other things, the chemical properties and effects of PFAS, and

       the manufacturers’ knowledge of those properties and effects. Id. The

       JPML thus held that “[c]entralization will eliminate duplicative discovery,”

       “prevent inconsistent pretrial rulings,” and “conserve the resources of the

       parties, their counsel, and the judiciary.” Id.


       1  https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dock-
       ets_By_District-June-15-2023.pdf.


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                   3.    3M and other defendants in the multidistrict litiga-
                         tion are asserting a government contractor defense.

             One of the JPML’s reasons for consolidating the AFFF lawsuits is that

       “the AFFF manufacturers likely will assert identical government contractor

       defenses in many of the actions.” AFFF Litig., 357 F. Supp. 3d at 1394.

       AFFF is used to suppress fires on aircraft carriers and at airfields and other

       military facilities. Fulfilling the Roosevelts’ Vision 37. According to the De-

       partment of Defense, AFFF is a “mission critical product” that “saves lives

       and protects assets,” Office of the Under Sec’y of Def. for Acquisition, Tech.,

       and Logistics, U.S. Dep’t of Def., Aqueous Film Forming Foam Report to

       Congress 1-2 (Oct. 2017), https://tinyurl.com/wshcww4, and its development

       has been “one of the most far-reaching benefits to worldwide aviation

       safety,” Fulfilling the Roosevelts’ Vision 37.

             Although AFFF initially was developed by the Navy, the government

       determined that its manufacture required “the aid of the chemical indus-

       try.” Fulfilling the Roosevelts’ Vision 37. In 1969, the Navy issued manda-

       tory technical requirements (known as military specifications or MilSpec)

       for AFFF supplied to the military by private firms. U.S. Navy, Military

       Specification:   Fire Extinguishing Agent, Aqueous Film-Forming Foam

       (AFFF) Liquid Concentrate, Six Percent, for Fresh and Sea Water (Nov. 21,

       1969), https://tinyurl.com/yxwotjpg (AFFF Military Specification); see gen-

       erally Steven W. Feldman, Government Contract Guidebook § 4:14 (4th ed.


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       2020). The MilSpec directed that AFFF consist of specified compounds and

       conform to precise requirements regarding viscosity, pH value, surface ten-

       sion, specific gravity, interfacial tension, foamability, fire performance, and

       corrosion rate. AFFF Military Specification 2-3. AFFF suppliers were re-

       quired to undertake inspection protocols and testing procedures “to assure

       supplies . . . conform to [the] prescribed requirements.” Id. at 3-10. The

       Navy has amended the MilSpec multiple times since its initial promulga-

       tion.

               To be eligible for military procurement, an AFFF product must be

       “list[ed] on the applicable Qualified Products List.” AFFF Military Specifi-

       cation 2; see 48 C.F.R. § 9.203(a). The Navy adds a supplier’s product to the

       list only after examining and testing it, and determining that it conforms to

       the MilSpec for that product. U.S. Dep’t of Def., Provisions Governing Qual-

       ification: Qualified Products List and Qualified Manufacturers List 2 (Aug.

       2019), tinyurl.com/y5asm5bw. The Navy periodically reviews products to

       “ensure continued integrity of the qualification status.” Id. at 2.

               AFFF that complies with the MilSpec for AFFF is known as MilSpec

       AFFF. For more than 30 years, AFFF products manufactured by 3M were

       included on the Qualified Products List for MilSpec AFFF. See MSJ Ex. 99,

       AFFF Litig., No. 2:18-mn-2873 (D.S.C. Nov. 5, 2021), ECF No. 1969-24 (U.S.

       Dep’t of Def., Mil-F-24385 QPL/QPD History for Type 3 AFFF (June 2,



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       2020); U.S. Dep’t of Def., Mil-F-24385 QPL/QPD History for Type 6 AFFF

       (June 2, 2020)).

            B.     Procedural History

                   1.     New Hampshire filed parallel lawsuits alleging that
                          PFAS contaminated its natural resources.

            In 2019, New Hampshire filed two complaints against 3M and other

       companies in state court alleging that its natural resources were contami-

       nated by PFAS. A104; A164. As to 3M, the complaints were largely identi-

       cal. Using similar language, they stated the same tort claims against 3M

       related to its design, manufacture, and supply of products containing PFAS.

       A129-36 ¶¶ 189-229; A194-200 ¶¶ 236-75. They contained the same allega-

       tions that 3M was aware of dangers associated with PFAS. A116-18 ¶¶ 75-

       100; A180-82 ¶¶ 109-33. And they generally alleged that PFAS contami-

       nated New Hampshire’s groundwaters, surface waters, and other natural

       resources. A125-29 ¶¶ 156-88; A191-94 ¶¶ 204-35.

            But there was one difference between the complaints. In this case,

       New Hampshire included a carveout in the complaint for “any . . . relief with

       respect to any contamination related to [AFFF].” A110 ¶ 29. The complaint

       in the other case (the putative AFFF Action) presented a mirror image.

       There, New Hampshire carved out “any . . . relief with respect to any con-

       tamination from [PFAS] that is not related to . . . AFFF.” A170 ¶ 29 (em-




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       phasis added). In addition, the complaint in the AFFF Action alleged spe-

       cific locations with PFAS contamination from AFFF, A167 ¶ 10, whereas

       the complaint here did not list any specific contamination sites. Instead, it

       generally alleged PFAS contamination “in locations throughout New Hamp-

       shire.” A125 ¶ 156.

             Soon after New Hampshire served the complaints, 3M removed the

       AFFF Action to federal court pursuant to the federal officer removal statute,

       28 U.S.C. § 1442(a)(1). Removal Notice, New Hampshire v. 3M Co., D.N.H.

       1:19-cv-800 (July 31, 2019), ECF No. 1. The removal notice explained that

       there is federal jurisdiction because the complaint “affirmatively allege[d]

       that 3M . . . made [MilSpec AFFF] for, and sold them to, the U.S. military,”

       including for use at some of the specific contamination sites listed in the

       complaint. Id. ¶ 20. New Hampshire did not oppose removal.

             The JPML transferred the AFFF Action to the multidistrict litigation,

       which New Hampshire also did not oppose. Order, AFFF Litig., MDL No.

       2873 (J.P.M.L. Aug. 2, 2019), ECF No. 485. For case management purposes,

       state plaintiffs in the multidistrict litigation must complete a fact sheet with

       information about the case, including a list of the locations at issue with

       PFAS contamination from AFFF. See A209, A213. New Hampshire’s fact

       sheet in the AFFF Action listed 26 sites with suspected PFAS contamina-

       tion from AFFF but stated that its alleged harm was “not limited to the sites

       identified.” A214.

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                   2.    Initial disclosures in this case did not reveal that
                         any of the natural resources at issue were contami-
                         nated by PFAS from MilSpec AFFF and non-AFFF
                         sources.

             Meanwhile, this case proceeded at first in state court and the parties

       exchanged initial disclosures. As part of its initial disclosures in this case,

       New Hampshire provided a list of 244 sites with purported PFAS contami-

       nation but stated that its alleged harm was not limited to those sites. A144,

       A155-61. The disclosures further stated, however, that the site list “ex-

       cludes all sites with contamination known or suspected to be attributable to

       AFFF, in whole or in part.” A144. In addition, the disclosures repeated the

       statement from the complaint that New Hampshire was “not seeking recov-

       ery for AFFF-related contamination.” A143. There was no overlap in the

       sites that New Hampshire listed in this case and the AFFF Action.

                   3.    3M removed this case after uncovering natural re-
                         sources with PFAS contamination from MilSpec
                         AFFF and non-AFFF sources.

             3M uncovered, through its own investigation, that there are natural

       resources “in locations throughout New Hampshire,” A59 ¶ 74, plausibly

       contaminated by PFAS used in both MilSpec AFFF sources and non-AFFF

       sources. A32-35 ¶¶ 29-34. To make that connection, 3M located and re-

       viewed publicly available evidence including:




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         - investigative reports prepared for the Air Force indicating possible

            PFAS “[d]rainage to Great Bay” from AFFF use at Pease Air Force

            Base, A268; see A320-21; A322;

         - a U.S. Department of Health and Human Services study that linked

            AFFF used at Pease Air Force Base to PFAS found in shellfish and

            deer in the Great Bay National Wildlife Refuge, A340-43; A350-51;

         - U.S. Environmental Protection Agency permits for wastewater facili-

            ties to discharge effluent into Great Bay, A505, and a recent scientific

            article identifying PFAS in the effluent from those facilities, A537;

         - a report prepared for the Air Force indicating based on area hydrology

            that AFFF used at Defense Fuels Support Point “presum[ably]” mi-

            grated into the Piscataqua River, A620; and

         - a New Hampshire Department of Environmental Services report in-

            dicating that groundwater from one of the claimed non-AFFF PFAS

            contamination sites on the site list from the initial disclosures flowed

            toward the Piscataqua River, A644.

            In April 2022, after analyzing those documents, 3M removed this case

       to federal court pursuant to the federal officer removal statute, 28 U.S.C.

       § 1442(a)(1). The removal notice explained that the case satisfies the re-

       quirements for federal officer removal. 3M was acting under a federal of-

       ficer when it designed, manufactured, and supplied MilSpec AFFF for the

       military. A35-37. New Hampshire’s claims regarding PFAS contamination

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       “in locations throughout New Hampshire,” A59 ¶ 74, relate to MilSpec

       AFFF. Several bodies of water that are at issue in this case because they

       have PFAS contamination from non-AFFF sources were also contaminated

       by PFAS from MilSpec AFFF. A30-35, A37-38. And 3M has a plausible

       federal government contractor defense. The MilSpec contained reasonably

       precise specifications governing AFFF, and the federal government “has

       long understood” that AFFF contains PFAS and can migrate to groundwa-

       ter, which has been reported to “raise environmental or health issues.” A39-

       41 ¶¶ 45-46.

                  4.    The JPML concluded that transferring this case to
                        the AFFF multidistrict litigation was not yet war-
                        ranted.

            After removal, 3M notified the JPML that this case is a “potential tag-

       along action[]” warranting transfer, JPML R. 7.1(a), and the JPML clerk

       conditionally transferred it to the AFFF multidistrict litigation, Order,

       AFFF Litig., MDL No. 2873 (J.P.M.L. May 10, 2022), ECF No. 1406.

            New Hampshire moved to vacate the conditional transfer order on the

       ground that it is not pursuing damages from AFFF in this case. Vacatur

       Motion, AFFF Litig., MDL No. 2873 (J.P.M.L. June 1, 2022), ECF No. 1453-

       1. New Hampshire asserted that its claims in this case “indisputably do not

       involve the same contaminated groundwater” at issue in the AFFF Action.

       Id. at 13. To support that assertion, New Hampshire stated that “[t]here is



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       no overlap between” the site lists from its initial disclosures in this case and

       its fact sheet in the AFFF Action. Id.

             In August 2022, the JPML granted New Hampshire’s motion to vacate

       the conditional transfer order, holding that transferring the case to the

       AFFF multidistrict litigation was not yet warranted. Transfer Vacatur,

       AFFF Litig., MDL No. 2873 (J.P.M.L. Aug. 3, 2022), ECF No. 1511. The

       JPML explained that New Hampshire “identified different contamination

       sites in each action” and that it is conceivable that “PFAS contamination

       may be statewide, but contamination from AFFF and non-AFFF sources

       may still be discrete.” Id. at 2. The JPML invited 3M to “re-notice” the case

       as a tag-along to the AFFF Action if “discovery and pleading practice”

       demonstrate that the cases do “involve the same contaminated ground or

       surface waters.” Id. at 3.

                   5.    The district court remanded this case to state court.

             New Hampshire moved to remand this case to state court. It argued

       that the district court lacked federal officer jurisdiction and that 3M’s re-

       moval was untimely. The district court granted the motion on those alter-

       native bases. Add. 1-36.

             Jurisdictional Holding. The district court held that this case was not

       removable pursuant to the federal officer removal statute because it is not

       “for or relating to” 3M’s supply of MilSpec AFFF to the federal government,

       28 U.S.C. § 1442(a)(1). Add. 15-22. The court reasoned that because the

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       complaint “disclaimed any recovery for contamination resulting from 3M’s

       production of AFFF,” there is no “connection between” New Hampshire’s

       claims and 3M’s production of MilSpec AFFF. Add. 18. The court stated

       that the disclaimer eliminated any “scenario under which 3M could be found

       liable for any damages caused by AFFF.” Add. 19. The court further stated

       that if AFFF “caused” PFAS contamination to any natural resources at issue

       in this case, “the portion attributable to AFFF would be subtracted from any

       damages,” and if “no apportionment is possible, no damages could be

       awarded.” Id. Thus, the court found, “[t]o the extent AFFF is relevant, its

       presence in the contamination could eliminate recovery.” Id.

             Timeliness Holding. The district court held that if the case were re-

       movable pursuant to the federal officer removal statute, remand still would

       be warranted because 3M’s removal was untimely. Add. 23-35. The court

       found that the “initial complaint in this suit, standing on its own,” did not

       demonstrate that the case was removable. Add. 28. However, the court

       reasoned, “at least three” papers “trigger[ed] . . . the 30-day clock” for re-

       moval under 28 U.S.C. § 1446(b)(3), and 3M filed the removal notice more

       than 30 days after receiving those papers. Add. 35.

             First, the court held that the complaint in the AFFF Action started

       the 30-day removal period. Add. 24-31. The court acknowledged that

       “[o]rdinarily, papers filed in one case . . . could not be considered” in deter-

       mining whether the removal period has begun in a different case. Add. 25.

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       The court found that this case presents “unique circumstances” that support

       deviating from that rule: The AFFF Action “involve[s] the same plaintiff,

       the same removing defendant, and the same lawyers”; “both suits were filed

       on the same day” and “cover largely the same factual and legal issues”; and

       3M removed this case based on the “alleged inherent link” to the AFFF Ac-

       tion. Add. 27-28. The court further found that Romulus v. CVS Pharmacy,

       Inc., 770 F.3d 67 (1st Cir. 2014), supports that “practical and common-sense

       approach.” Add. 25-26.

             The court then held that the complaint in the AFFF Action “clearly

       and unequivocally stated sufficient facts from which 3M could have easily

       determined” that this case was removable based on “plausible overlap in

       PFAS contamination in areas covered by this suit from both MilSpec AFFF

       and non-AFFF sources.” Add. 28; see Add. 31. The court found that “3M’s

       basis for removing this case . . . is that the court should disregard” language

       in the complaint that disclaims damages from AFFF. Add. 29. The court

       reasoned that the disclaimer should not “prevent the start of the 30-day

       clock” because 3M’s argument that the disclaimer does not defeat federal

       officer jurisdiction “was always available.” Add. 29-31.

             Second, the court held that 3M’s notice of removal in the AFFF Action

       also could have started the removal period in this case. Add. 31-32. The

       court found that “the facts alleged in both suits are the same, and the basis



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       for removal in both suits is the same,” namely, “3M’s supply of MilSpec

       AFFF at Pease Air Force Base.” Add. 32.

            Third, the court held that the site list included with New Hampshire’s

       initial disclosures in this case could have started the removal period.

       Add. 33-35. The court found that 3M could have applied a “reasonable de-

       gree of intelligence” to “easily determine that PFAS from MilSpec AFFF re-

       leased at Pease Air Force Base plausibly overlaps with non-AFFF contami-

       nation at [Public Service New Hampshire] Schiller Station or Great Bay.”

       Add. 33. The court reasoned that 3M was on alert because the complaints

       in this case and the AFFF Action alleged PFAS contamination of tidal estu-

       aries; the Great Bay is a “large, well-known tidal estuary” that “directly

       abuts” Pease Air Force Base where it is “undisputed . . . that 3M supplied

       MilSpec AFFF”; and the complaint here alleged that PFAS generally can

       migrate “long distances.” Id.

                          SUMMARY OF THE ARGUMENT

            This case should proceed in federal court. The district court has juris-

       diction under the federal officer removal statute, and 3M timely removed

       the case.

            I. This case satisfies the requirements for removal under the federal

       officer removal statute, 28 U.S.C. § 1442(a)(1). The case relates to 3M’s

       supply of MilSpec AFFF to the federal government because the natural re-

       sources at issue were allegedly contaminated by PFAS from both MilSpec

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       AFFF and non-AFFF sources. New Hampshire disclaims damages from

       AFFF, but that does not sever the connection to MilSpec AFFF. 3M’s re-

       moval notice plausibly alleged that several natural resources were cross-

       contaminated by PFAS from MilSpec AFFF and non-AFFF sources. The

       case therefore will involve complex fact finding about MilSpec AFFF. That

       includes questions about where and how the Department of Defense used

       MilSpec AFFF, how MilSpec AFFF migrated from military or other facilities

       to the at-issue waters, and whether the PFAS chemicals in those waters are

       distinguishable based on their source. In comparable scenarios, courts have

       held that a federal court should be the one to resolve those questions.

            The district court held that there is no federal officer jurisdiction be-

       cause New Hampshire disavowed damages from AFFF. Under the previous

       version of 28 U.S.C. § 1442(a)(1), a removal notice had to show a causal con-

       nection between the case and the defendant’s actions under a federal officer.

       But in 2011, Congress amended the statute to lower the removal bar so that

       a case is removable so long as it is related to a defendant’s federal action.

       This suit easily clears that bar. New Hampshire’s disclaimer notwithstand-

       ing, a court will need to undertake a complex, fact-intensive inquiry regard-

       ing the location and use of MilSpec AFFF, and its migration to the natural

       resources at issue.




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            3M also alleged a colorable government contractor defense. The re-

       moval notice explained that the federal government issued, and 3M’s prod-

       ucts complied with, precise specifications for MilSpec AFFF, and that 3M

       did not fail to warn the federal government of any dangers related to Mil-

       Spec AFFF that were known to 3M but not to the government. Those facts

       are more than sufficient at the removal stage, where courts must accept as

       true the allegations in the removal notice. Courts thus routinely uphold the

       removal of similar actions related to MilSpec AFFF.

            II. 3M timely removed the case after uncovering facts plausibly show-

       ing that the PFAS contamination alleged in this case stems from both Mil-

       Spec AFFF and non-AFFF sources. New Hampshire omitted that infor-

       mation from the complaint, which vaguely alleged PFAS contamination to

       natural resources in “locations throughout New Hampshire” but expressly

       disavowed damages from AFFF. And New Hampshire continued to sow

       confusion regarding the scope of its claims in its briefing before the JPML.

            The district court erred in holding that three earlier documents—the

       complaint in the AFFF Action, 3M’s notice of removal in the AFFF Action,

       and the site list included with New Hampshire’s initial disclosures—each

       could have started the 30-day removal period under 28 U.S.C. § 1446(b)(3).

       None of those documents made it unequivocally clear that the alleged PFAS

       contamination in this case stems at least in part from MilSpec AFFF, par-

       ticularly in light of New Hampshire’s disclaimer. In addition, under this

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       Court’s bright-line approach to 28 U.S.C. § 1446(b)(3), neither the complaint

       nor the removal notice in the AFFF Action counts as an “other paper” that

       can start the removal period. They are not papers from this litigation, and

       the removal notice was not provided by New Hampshire to 3M.

                                STANDARD OF REVIEW

             This Court reviews de novo a jurisdictional determination on removal.

       Moore v. Elec. Boat Corp., 25 F.4th 30, 34 (1st Cir. 2022). Questions of stat-

       utory construction are also reviewed de novo. United States ex rel. Lovell v.

       AthenaHealth, Inc., 56 F.4th 152, 157 (1st Cir. 2022).

                                        ARGUMENT

       I.    The District Court Has Jurisdiction Under The Federal Of-
             ficer Removal Statute.

             Under the federal officer removal statute, 28 U.S.C. § 1442(a)(1), a de-

       fendant may in certain circumstances remove a civil action commenced in

       state court to federal district court. The action must be against “any person

       acting under” a federal officer and “for or relating to any act under color of

       such office.” Id. That language establishes three requirements that the

       removing defendant must satisfy: (1) “it was acting under a federal officer’s

       authority”; (2) “the charged conduct was carried out for or relating to the

       asserted official authority”; and (3) “it will assert a colorable federal defense

       to the suit.” Moore, 25 F.4th at 34 (internal quotations omitted).




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             Those requirements are “liberally construed” in favor of removal.

       Watson v. Philip Morris Cos., Inc., 551 U.S. 142, 147 (2007); see Willingham

       v. Morgan, 395 U.S. 402, 406 (1969) (rejecting a “‘narrow’ or ‘limited’” read-

       ing of the federal officer removal statute). And courts apply “the same lib-

       eral rules employed in testing the sufficiency of a pleading . . . to appraise

       the sufficiency of a defendant’s notice of removal.” 14C Federal Practice and

       Procedure § 3733 & n.17 (Rev. 4th ed. 2023) (collecting cases); see 28 U.S.C.

       § 1446(a) (removal notice must include “a short and plain statement of the

       grounds for removal”). Under that standard, “a defendant’s notice of re-

       moval need include only . . . plausible allegation[s]” regarding the removal

       requirements, Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S.

       81, 89 (2014), and courts must “credit the [removing defendant’s] theory of

       the case,” Jefferson Cty., Ala. v. Acker, 527 U.S. 423, 432 (1999).

             There is no disagreement in this case that 3M was “acting under” a

       federal officer’s authority when it designed, manufactured, and supplied

       MilSpec AFFF. See A35-36 ¶¶ 36-38. The existence of federal officer juris-

       diction accordingly turns on whether the lawsuit is “for or relating to” Mil-

       Spec AFFF and whether 3M has a “colorable federal defense.” New Hamp-

       shire asserts that the case is not related to MilSpec AFFF because it is pur-

       suing damages caused by PFAS from other sources. But New Hampshire

       cannot disclaim the unavoidable and complicated fact questions in its case

       that implicate 3M’s supply of MilSpec AFFF to the federal government. Nor

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       can New Hampshire prevent 3M from challenging the allegations in the

       complaint regarding the sources of the PFAS contamination or from raising

       a government contractor defense with respect to damages related to cross-

       contaminated natural resources.

             A.      The Case Is Related To 3M’s Supply Of MilSpec AFFF To
                     The Federal Government.

             A defendant removing a case on federal officer grounds must plausibly

       allege that the lawsuit is “for or relating to” the act taken under a federal

       officer or agency. 28 U.S.C. § 1442(a)(1). Establishing that a lawsuit is “for”

       an act under a federal officer requires showing “a nexus, a causal connec-

       tion” between the official act and the conduct alleged. Acker, 527 U.S. at

       431 (1999) (internal quotations omitted). The “hurdle erected by this re-

       quirement is quite low.” Isaacson v. Dow Chem. Co., 517 F.3d 129, 137 (2d

       Cir. 2008).

             In 2011, Congress “lower[ed]” that hurdle even further by amending

       the federal officer removal statute. Minnesota v. Am. Petroleum Inst., 63

       F.4th 703, 715 (8th Cir. 2023) (collecting cases); see Removal Clarification

       Act of 2011, § 2(b)(1)(A), 125 Stat. 545. As amended, the statute permits

       removal if the defendant plausibly alleges that the case is either “for or re-

       lating to” an act under a federal officer. 28 U.S.C. § 1442(a)(1) (emphasis

       added). That amendment “broaden[ed] the universe of acts that enable . . .

       remov[al] to Federal court.” Moore, 25 F.4th at 35 n.4 (quoting H.R. Rep.


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       No. 112-17, at 6 (2011)). Federal officer removal thus is available in actions

       “not just causally connected, but alternatively connected or associated, with

       acts under color of federal office.” Baker v. Atl. Richfield Co., 962 F.3d 937,

       943 (7th Cir. 2020) (quoting Latiolais v. Huntington Ingalls, Inc., 951 F.3d

       286, 292 (5th Cir. 2020) (en banc)); see Moore, 25 F.4th at 35 n.4 (similar).

             At a minimum, New Hampshire’s claims are connected or associated

       with MilSpec AFFF. The complaint seeks damages for alleged PFAS con-

       tamination of natural resources “throughout New Hampshire.” A48 ¶ 2;

       A54-55 ¶¶ 34; A59 ¶ 74. 3M’s removal notice explained that the contami-

       nation at issue plausibly came from both MilSpec AFFF and non-AFFF

       sources. A30-35 ¶¶ 27-34. For instance, Great Bay is a tidal estuary with

       putative PFAS contamination. A32-33 ¶¶ 30-32. The PFAS in Great Bay

       likely came from several sources that “commingled”: MilSpec AFFF used at

       Pease Air Force Base, non-AFFF effluent emitted from wastewater treat-

       ment facilities, and non-AFFF products at nearby sites listed in New Hamp-

       shire’s initial disclosures. A32-33 ¶¶ 30-32. Likewise, PFAS in the Pisca-

       taqua River likely came from MilSpec AFFF used at Defense Fuels Support

       Point as well as non-AFFF PFAS from a site listed in the initial disclosures.

       A34 ¶ 33.2




       2   New Hampshire has made contradictory statements regarding the scope
       of the litigation. New Hampshire has sometimes suggested that the litiga-

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             The complaint’s disclaimer of damages from AFFF, A53-54 ¶ 34, does

       not sever that connection to MilSpec AFFF. For natural resources like

       Great Bay and the Piscataqua River, the parties must undertake discovery,

       and the court must conduct fact-intensive analysis, regarding the supply,

       use, and movement of MilSpec AFFF. As the district court acknowledged,

       that will entail evaluating whether MilSpec AFFF resulted in waste

       streams that are “presen[t] in the contamination,” and if so, what “portion

       . . . of the damages” is attributable to that MilSpec AFFF. Add. 19. And it

       is far from clear that New Hampshire will be able to distinguish between

       MilSpec AFFF and non-AFFF sources, which allegedly include the same

       four PFAS chemicals. See A59 ¶ 74; A193 ¶ 219.

             The plaintiffs in Baker v. Atlantic Richfield Co., supra, made a similar

       disclaimer, and the Seventh Circuit held that the case belonged in federal

       court. 962 F.3d at 947. There, residents alleged that DuPont operated fa-

       cilities that contaminated a housing complex with lead, arsenic, and other



       tion concerns only the sites listed in the initial disclosures. See, e.g., Vaca-
       tur Reply at 5 n.2, AFFF Litig., MDL No. 2873 (J.P.M.L. June 29, 2022),
       ECF No. 1481 (asserting that Great Bay is not at issue because it “is not one
       of the sites the State has identified”). At other times, New Hampshire has
       asserted that this is a “state-wide case” not limited to specific “sites.” Re-
       mand Motion 12 n.4; cf. A48 ¶ 2; A59 ¶ 74 (asserting that PFAS has been
       found in “natural resources in locations throughout New Hampshire” in-
       cluding “tidal estuaries”). The district court concluded that the case is not
       limited to the site list. Add. 29. Regardless, 3M’s removal notice plausibly
       alleges cross-contamination of one of the listed sites. See A34 ¶ 33.


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       substances. Id. at 939-41. Although the complaint “purport[ed] to disclaim”

       that the lawsuit “pertain[ed] to DuPont’s manufacture and production of

       Freon-12” for the government, DuPont’s removal notice alleged that its

       “Freon-12 production resulted in waste streams that contained lead and ar-

       senic.” Id. at 941, 945 n.3. In upholding removal, the Seventh Circuit ex-

       plained that “a federal court should be the one to resolve” the “difficult cau-

       sation question” of whether the contamination arose in part “from products

       DuPont manufactured for the government.” Id. at 945 n.3; see, e.g., Nessel

       v. Chemguard, Inc., No. 1:20-cv-1080, 2021 WL 744683, at *3 (W.D. Mich.

       Jan. 6, 2021) (denying remand motion where causation entailed a “detailed

       fact-finding process” regarding sources of PFAS contamination). Here too,

       3M is entitled to have a federal court resolve the difficult question of

       whether and to what extent the alleged PFAS in any New Hampshire nat-

       ural resource is from MilSpec AFFF.

             The district court erred in distinguishing Nessel v. Chemguard, Inc.,

       supra. In that case, the plaintiffs “surgically divide[d] their complaints be-

       tween Commercial and MilSpec AFFF.” 2021 WL 744683, at *3. The dis-

       trict court there denied the plaintiffs’ motion to remand the commercial

       AFFF case. The court explained that the case would entail “a detailed fact-

       finding process” regarding “whether the injuries from MilSpec and Commer-

       cial AFFF can be distinguished.” Id. The district court here found Nessel



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       inapplicable because the parallel complaints in that case split up the dam-

       ages between types of AFFF, rather than, as here, between AFFF and non-

       AFFF sources. Add. 21. But that distinction is irrelevant. As in Nessel, to

       determine where the government contractor defense applies, the court that

       ultimately adjudicates this case must undertake a “detailed fact-finding

       process to determine whether the injuries from” disparate sources of PFAS

       are distinguishable. Nessel, 2021 WL 744683, at *3. New Hampshire’s

       carveout for “contamination [that] came from AFFF,” Add. 21, does not ob-

       viate those “difficult causation question[s],” which “a federal court should

       be the one to resolve,” Baker, 962 F.3d at 945 n.3.

            The district court also held that by disclaiming “damages caused by

       AFFF,” New Hampshire “eliminate[d] the connection” to AFFF. Add. 18-

       19; see Add. 19 (“3M cannot be liable . . . for contamination resulting from”

       AFFF). In so holding, the court cited the current standard, but it mistak-

       enly applied the pre-2011 removal standard, which required “a nexus, a

       ‘causal connection’” between the official act and the conduct alleged, Acker,

       527 U.S. at 431. That “‘causal link’ standard . . . is far narrower than the

       proper standard under § 1442(a)(1), as amended in 2011,” Moore, 25 F.4th

       at 34—whether the case is in any way “connected or associated . . . with acts

       under color of federal office,” Baker, 962 F.3d at 943. The court therefore

       should not have limited its inquiry to whether New Hampshire is pursuing

       damages caused by MilSpec AFFF. Viewed under the proper standard, this

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       case is removable because it involves complex questions about whether the

       contamination at issue resulted from actions 3M took under a federal officer,

       even if New Hampshire disclaims the portion of its harm that “arise[s] from”

       those actions. Id. at 945 n.3.

            The district court also relied on two out-of-circuit remand orders, Add.

       17-18, that did not confront the complex questions presented here. The

       plaintiffs in those cases sued asbestos manufacturers for alleged injuries

       from asbestos exposure and disclaimed damages from exposures that oc-

       curred during their military careers. Batchelor v. Am. Optical Corp., 185 F.

       Supp. 3d 1358, 1361 (S.D. Fla. 2016); Hayden v. 3M Co., No. 15-cv-2275,

       2015 WL 4730741, at *1 (E.D. La. Aug. 10, 2015). Neither remand order

       addressed the issue of whether and to what extent the injuries were related

       to the plaintiffs’ military asbestos exposures. The courts therefore did not

       consider the salient question here: whether the removal notice plausibly

       alleged that this case presents “difficult causation question[s]” regarding

       actions taken under a federal officer, which “a federal court should be the

       one to resolve.” Baker, 962 F.3d at 945 n.3.

            Further, the plaintiffs in those cases disclaimed federal-related dam-

       ages altogether, rather than seeking to divide their damages between over-

       lapping suits against the same party. Courts generally are wary of statu-

       tory constructions that “would give rise to wasteful, duplicative litigation”

       in state and federal courts. Merrill Lynch, Pierce, Fenner & Smith Inc. v.

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       Dabit, 547 U.S. 71, 86 (2006). The district court’s interpretation of 28 U.S.C.

       § 1442(a)(1) would do just that. It would incentivize plaintiffs to depart

       from the normal practice of asserting all of their claims in a single suit—a

       practice that other State plaintiffs in PFAS suits (including in this Circuit)

       have observed. See, e.g., Complaint, Puerto Rico v. 3M Co., No. 3:23-cv-1281

       (D.P.R. May 31, 2023), ECF No. 1; Complaint, Wisconsin v. 3M Co., No. 23-

       cv-28 (D.S.C. July 27, 2022), ECF No. 1-1; Complaint, Rhode Island v. 3M

       Co., PC-2023-02452 (R.I. Super. Ct. May 25, 2023); Notice of Removal, Cal-

       ifornia v. 3M Co., No. 4:22-cv-9001 (N.D. Cal. Dec. 20, 2022), ECF No. 1.

             Instead, plaintiffs would follow New Hampshire’s lead by filing mul-

       tiple suits that raise the same issues regarding the same natural resources.

       The result would be a proliferation of parallel state and federal cases that

       duplicate discovery and force companies to simultaneously defend identical

       claims in multiple forums. And unlike duplicative claims in federal courts

       (which can be consolidated, even if filed in different parts of the country, 28

       U.S.C. § 1407(a); Fed. R. Civ. P. 42(a)), duplicative claims pending in state

       and federal courts cannot be consolidated, so the parties would incur dupli-

       cative costs litigating the same case before different courts.3


       3  In the district court, New Hampshire cited City of Hoboken v. Chevron
       Corp., 45 F.4th 699 (3d Cir. 2022), as supplemental authority. The court
       did not rely on that decision and regardless it does not support remand. The
       plaintiff in that case brought tort claims against oil producers related to
       global fossil fuel emissions. Id. at 706. Unlike here, that plaintiff did not

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             B.     3M Has A Colorable Government Contractor Defense.

             3M’s removal notice also plausibly alleged a colorable government

       contractor defense.4 The Supreme Court has “rejected a narrow, grudging

       interpretation” of the “colorable federal defense” requirement. Acker, 527

       U.S. at 431 (internal quotations omitted); see Willingham, 395 U.S. at 407

       (A defendant “need not win his case before he can have it removed.”). A

       federal defense is colorable “unless it is immaterial and made solely for the

       purpose of obtaining jurisdiction or wholly insubstantial and frivolous.”

       Moore, 25 F.4th at 37 (internal quotations omitted).

             The only federal defense asserted in 3M’s notice of removal is the gov-

       ernment contractor defense. A38-42 ¶¶ 42-48. To establish that defense



       divide its damages between parallel suits, and federal officer jurisdiction
       was lacking because “military fuel use” represented “less than 1/800th of
       the world’s energy consumption.” Id. at 713. In contrast, this case will in-
       volve complex causation questions because the alleged PFAS contamination
       of New Hampshire’s natural resources is plausibly attributable in no small
       measure to MilSpec AFFF.
       4  Although the district court did not address whether 3M has a colorable
       federal defense, see Add. 2 n.4, this Court has discretion to address that
       “quintessentially legal issue[],” which requires “no further development of
       the record . . . to resolve,” Bossé v. N.Y. Life Ins. Co., 992 F.3d 20, 32 (1st
       Cir. 2021). “Judicial economy weighs in favor of prompt resolution of the
       jurisdictional issue[]” now. Fed. Home Loan Bank of Bos. v. Moody’s Corp.,
       821 F.3d 102, 108 n.3 (1st Cir. 2016), abrogated on other grounds by Light-
       foot v. Cendant Mortg. Corp., 580 U.S. 82 (2017). Doing so will head off
       future remand appeals under 28 U.S.C. § 1447(d) and permit the parties to
       “proceed to the merits in an appropriate venue.” Id. at 108 n.3; see, e.g.,
       Moore, 25 F.4th at 36 (reaching this same issue “as a matter of discretion”).

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       with respect to New Hampshire’s claims, 3M ultimately must show that (1)

       the federal government used “reasonably precise specifications” for MilSpec

       AFFF products; (2) the federal government determined that 3M’s products

       “conformed to those specifications”; and (3) 3M warned the federal govern-

       ment of any material dangers of MilSpec AFFF that were “known to” 3M

       but not the federal government. Boyle v. United Techs. Corp., 487 U.S. 500,

       512 (1988); see Moore, 25 F.4th at 37. The removal notice plausibly alleged

       that 3M will be able to make that showing. A38-41 ¶¶ 42-47.

            In the district court, New Hampshire did not dispute that 3M plausi-

       bly alleged the first two requirements for the government contractor de-

       fense. The removal notice explained that the federal government used “rea-

       sonably precise specifications” for the formulation, performance, and testing

       of MilSpec AFFF. A39-40 ¶ 45. In addition, 3M’s AFFF products appeared

       on the Department of Defense’s Qualified Products List, which happens only

       if the Naval Sea Systems Command has determined that those products

       conform to the MilSpec. Id.

            The removal notice also plausibly alleged that 3M was not aware of

       any material risk regarding MilSpec AFFF that was unknown to the federal

       government. The MilSpec contained testing protocols and requirements re-

       garding toxicity, chemical oxygen, and biological demand. A40-41 ¶ 46. The

       federal government has long understood that AFFF contains PFAS, that



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       AFFF constituents may migrate to groundwater, and that some studies sug-

       gest potential related adverse effects.5 For example, a 1980 report studying

       the use of AFFF to suppress fires at military installations concluded that

       “[a]ll of the constituents resulting from firefighting exercises are considered

       to have adverse effects environmentally.”6 More recently, the Department

       of Defense issued a report acknowledging concerns about PFAS raised by

       the U.S. Environmental Protection Agency but nonetheless describing

       AFFF as a “mission critical product [that] saves lives and protects assets.”

       A40-41 ¶ 46 (quoting Aqueous Film Forming Foam Report to Congress 1-2).

             In the district court, New Hampshire argued that those allegations

       are insufficient because the removal notice did not specifically “deny” that

       3M knew of the potential health risks discussed in those reports at some

       earlier date and kept that information from the federal government. Re-

       mand Motion 14. Yet the notice described the federal government’s aware-

       ness of those risks and asserted that 3M “was not aware of any dangers

       unknown to the Government.” A41-42 ¶ 48. The notice further asserted




       5  A40-41 ¶ 46 (citing U.S. Envtl. Prot. Agency, Revised Draft Hazard As-
       sessment of Perfluorooctanoic Acid and its Salts 1-6 (Nov. 4, 2002),
       perma.cc/T9PD-FC9M).
       6  A40-41 ¶ 46 (citing Edward S. K. Chian et al., Membrane Treatment of
       Aqueous Film Forming Foam (AFFF) Wastes for Recovery of Its Active In-
       gredients 1 (Oct. 1980), apps.dtic.mil/sti/pdfs/ADA136612.pdf).


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       that “[a]t a minimum, . . . Naval Sea Systems Command ‘made a discretion-

       ary determination’ regarding the formulation and other specifications of

       MilSpec AFFF after weighing” benefits against alleged risks. A41 ¶ 47

       (quoting Twinam v. Dow Chem. Co., 517 F.3d 76, 90 (2d Cir. 2008)).

            Those allegations are sufficient at the removal stage where courts do

       not undertake “fact-intensive motion practice . . . to determine” whether a

       federal defense will ultimately succeed. Cuomo v. Crane Co., 771 F.3d 113,

       116 (2d Cir. 2014). Rather, courts “accept[] . . . as true” the allegations in

       the removal notice “and draw[] all reasonable inferences in [the defendant’s]

       favor” to determine whether the defense is colorable. Salter v. Quality Car-

       riers, Inc., 974 F.3d 959, 964 (9th Cir. 2020). As discussed above, 3M cited

       extensive evidence showing that the federal government has long been

       aware of potential dangers associated with AFFF. New Hampshire cites no

       evidence to support its speculation that there was some earlier period when

       3M was aware of those issues and the government was not. That conjecture

       does not show that 3M’s asserted defense is “wholly insubstantial and friv-

       olous.” Moore, 25 F.4th at 37.

            Notably, the court overseeing the AFFF multidistrict litigation and

       other courts uniformly have upheld the removal of similar actions involving

       MilSpec AFFF based on the assertion of a colorable government contractor

       defense. See, e.g., Order, AFFF Litig., No. 2:18-mn-2873 (D.S.C. Aug. 24,

       2022), ECF No. 2559; Order, AFFF Litig., No. 2:18-mn-2873 (D.S.C. Oct. 1,

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       2019), ECF No. 325; see also Nessel, 2021 WL 744683, at *4; Ayo v. 3M Co.,

       No. 18-cv-0373, 2018 WL 4781145, at *6-15 (E.D.N.Y. Sept. 30, 2018). The

       AFFF multidistrict litigation court has also found, based on extensive evi-

       dence, that 3M’s government contractor defense presents genuine issues of

       fact for trial. See AFFF Litig., 2022 WL 4291357, at *12, 15 (D.S.C. Sept.

       16, 2022). By definition, a defense that presents triable issues is more than

       “colorable.”

             Finally, the fact that New Hampshire alleges that it is not pursuing

       damages from AFFF does not undermine 3M’s right to assert a colorable

       federal contractor defense. The federal officer removal statute “is an excep-

       tion to the ‘well-pleaded complaint’ rule.” Kircher v. Putnam Funds Tr., 547

       U.S. 633, 644 n.12 (2006). New Hampshire “cannot prevent [3M] from rais-

       ing the production of MilSpec AFFF as a defense or an alternate theory” of

       causation for the natural resource contamination at issue. Nessel, 2021 WL

       744683, at *3. That alternative theory is likely to arise in this case because

       New Hampshire expressly alleged in the AFFF Action that 3M “produced

       MilSpec AFFF and that PFAS from AFFF spread contamination throughout

       the state.” Id.; see A193 ¶ 219.

             The district court reasoned that New Hampshire cannot recover for

       PFAS pollution to cross-contaminated resources unless it can “subtract[]”

       “the portion [of its damages] attributable to AFFF,” Add. 19, but that does

       not change the calculus. New Hampshire cannot dictate the defenses 3M

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       will raise as to liability, and the removal notice plausibly alleges a colorable

       government contractor defense, see A38-42 ¶¶ 42-48. 3M’s ability to raise

       that defense is particularly important here because New Hampshire’s par-

       allel suits raise the specter of inconsistent results.

             Further, New Hampshire has not clearly foresworn damages related

       to cross-contaminated natural resources where “no apportionment is possi-

       ble” between AFFF and non-AFFF sources. Add. 19. The remand motion

       indicated that New Hampshire may seek damages in that scenario. See

       Remand Motion 11 (contending New Hampshire would recover so long as it

       “prove[s] that its complained-of injuries are attributable to any of the de-

       fendants’ PFAS-containing products besides AFFF”). And 3M intends to

       raise a government contractor defense in response. 3M also is entitled to

       raise that defense with respect to natural resources purportedly contami-

       nated from non-AFFF sources that 3M believes are in fact related to Mil-

       Spec AFFF. For all of these scenarios, the purpose of federal officer removal

       is to ensure “a federal forum in which to assert [that] federal immunity de-

       fense[].” Watson, 551 U.S. at 150. The case therefore should proceed in

       federal court.

       II.   3M Timely Removed The Case To Federal Court.

             Under the removal procedure statute, 28 U.S.C. § 1446, a defendant

       must remove a case within 30 days after receiving from the plaintiff a paper

       making clear that there is federal jurisdiction. If the case stated by the

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       complaint is removable, the defendant generally must remove within

       30 days after service of the complaint. Id. § 1446(b)(1). If the case stated

       by the complaint is not removable, the defendant must remove within 30

       days after receiving “a copy of an amended pleading, motion, order or other

       paper from which it may first be ascertained that the case is one which is or

       has become removable.” Id. § 1446(b)(3).

            But those two 30-day periods are not “the exclusive authorizations of

       removal.” Cutrone v. Mortg. Elec. Registration Sys., Inc., 749 F.3d 137, 147

       (2d Cir. 2014). Section 1446(b)(1) and (3) impose time limitations on re-

       moval “only in cases in which the plaintiff’s initial pleading or subsequent

       document has explicitly demonstrated removability.” Id. If the plaintiff has

       not provided the defendant a document that makes the basis for removal

       clear, the defendant is “free to conduct its own investigation and remove” a

       federal officer case at any time. Graiser v. Visionworks of Am., Inc., 819

       F.3d 277, 286 (6th Cir. 2016); see McLaren v. UPS Store Inc., 32 F.4th 232,

       241 (3d Cir. 2022); Cutrone, 749 F.3d at 146-48; Walker v. Trailer Transit,

       Inc., 727 F.3d 819, 825-26 (7th Cir. 2013); Roth v. CHA Hollywood Med. Ctr.,

       L.P., 720 F.3d 1121, 1125 (9th Cir. 2013); see also Romulus, 770 F.3d at 80

       n.12 (noting “agree[ment]” on this issue among circuits).

            Here, “there is no dispute that the case stated by the initial complaint”

       did not start the 30-day removal period. Add. 28. The complaint did not

       allege that any of the at-issue natural resources were cross-contaminated

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       by PFAS from both MilSpec AFFF and non-AFFF sources. 3M therefore

       removed the case only after conducting its own investigation to uncover

       cross-contaminated natural resources. The three documents that the dis-

       trict court cited could not have started the 30-day removal period. None

       made it unequivocally clear that natural resources at issue in this case were

       cross-contaminated. Further, two of the documents are from another case

       and do not qualify as “other paper” under 28 U.S.C. § 1446(b)(3).

             A.     3M Removed The Case After Uncovering Facts Support-
                    ing Federal Officer Jurisdiction.

             The complaint here alleged that natural resources “in locations

       throughout New Hampshire” were contaminated by PFAS. A59 ¶ 74; A61

       ¶ 90. But the complaint did not allege that any of that contamination was

       from “overlap[ping] . . . MilSpec AFFF and non-AFFF sources.” Add. 28.

       Nor did the complaint “connect 3M’s supply of AFFF to any military sites in

       New Hampshire.” Id. Thus, the complaint did not make clear that there is

       federal officer jurisdiction. Id.

             3M later undertook its own investigation of whether there are partic-

       ular natural resources in New Hampshire that were plausibly cross-contam-

       inated by PFAS from MilSpec AFFF and non-AFFF sources. See A52-54

       ¶¶ 29-34. 3M consulted PFAS inspection reports on military and non-mili-

       tary sites (A223, A320, A322, A336, A549); water discharge permits and




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       water flow reports (A505, A636); and a peer-reviewed article on the distri-

       bution of PFAS in wastewater in New Hampshire (A537). Those sources

       provided a plausible basis to conclude that there are at least two bodies of

       water at issue in this case with PFAS contamination from both MilSpec

       AFFF and non-AFFF sources. A52-54 ¶¶ 29-34. Thus, “despite the nonfed-

       eral cast of the complaint,” Acker, 527 U.S. at 431, 3M properly removed the

       case to federal court based on its own investigation into whether there is

       federal officer jurisdiction.

             B.     The Papers Identified By The District Court Did Not
                    Start The 30-Day Removal Period.

             The district court erred in holding (Add. 23-35) that 3M’s removal of

       the case was untimely. The court reasoned that there were three docu-

       ments, each of which was an “other paper” that could have started the re-

       moval period under 28 U.S.C. § 1446(b)(3), and that 3M removed the case

       more than 30 days after receiving those documents. Add. 35.

             The court’s holding contravenes three basic principles underlying the

       removal procedure statute. First, to trigger the removal period under 28

       U.S.C. § 1446(b)(3), the document must contain facts making it unequivo-

       cally clear and certain that the case is removable. A plaintiff’s “other paper”

       starts the removal period only if the defendant could have “ascertained”

       from the paper “that the case is one which is or has become removable.” 28




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       U.S.C. § 1446(b)(3). The statute does not define “ascertained,” but its ordi-

       nary meaning is “to find out or learn with certainty.” Merriam-Webster,

       https://www.merriam-webster.com/dictionary/ascertain. Courts of appeals

       thus have consistently held that the onus is on the plaintiff to provide a

       paper that makes the facts supporting removal “unequivocally clear and

       certain.” Dietrich v. Boeing Co., 14 F.4th 1089, 1093-94 (9th Cir. 2021) (col-

       lecting cases); see id. at 1093 (noting that this Court has applied that test

       “in all but name”).

            Second, when a court evaluates whether a plaintiff’s paper has started

       the 30-day removal period, “the inquiry begins and ends within the four cor-

       ners of” that paper. McLaren, 32 F.4th at 236, 239; see id. at 239 n.4 (col-

       lecting cases). Under that “bright-line approach,” a defendant has “no inde-

       pendent duty to investigate whether a case is removable.” Romulus, 770

       F.3d at 75. The plaintiff’s paper itself must make the basis for removal

       unequivocally clear. To be sure, a defendant cannot bury its head in the

       sand. It “must still apply a reasonable amount of intelligence in ascertain-

       ing removability” by, for example, “multiplying figures clearly stated in a

       complaint” to determine the amount in controversy in a Class Action Fair-

       ness Act case. Romulus, 770 F.3d at 75 (alterations and internal quotations

       omitted). But there is no obligation for the defendant to “investigate be-

       yond” the plaintiff’s paper based on “clue[s]” contained therein, Harris v.

       Bankers Life & Cas. Co., 425 F.3d 689, 696 n.7 (9th Cir. 2005), in search of

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       “facts giving rise to removability,” Whitaker v. Am. Telecasting, Inc., 261

       F.3d 196, 206 (2d Cir. 2001).

             Third, the “other paper” must be a case-related document that the

       plaintiff provided to the defendant. This Court has been clear that only “the

       plaintiffs’ own papers” can qualify as an “other paper” that can start the 30-

       day removal period. Romulus, 770 F.3d at 74; see Graiser, 819 F.3d at 284

       (explaining that this requirement “limits the court’s inquiry to the . . . paper

       provided by the plaintiff to the defendant” (internal quotations omitted)).

             And the plaintiff’s paper must be “involved in, not external to, the case

       being removed.” Berera v. Mesa Med. Grp., PLLC, 779 F.3d 352, 365 (6th

       Cir. 2015) (internal quotations omitted); see Wisconsin v. Amgen, Inc., 516

       F.3d 530, 534 (7th Cir. 2008); Suttlehan v. MidFirst Bank, 205 F. Supp. 3d

       366, 371 (S.D.N.Y. 2016); see also 14C Federal Practice and Procedure

       § 3731 & n.43 (“[D]ocuments not generated within the state litigation gen-

       erally are not recognized as ‘other papers.’”). The term “other paper” is in-

       tended to “only address developments within a case, not a document . . .

       which is separate and apart from the case.” League of Women Voters of Pa.

       v. Pennsylvania, 921 F.3d 378, 384 (3d Cir. 2019) (internal quotations omit-

       ted). That rule avoids foisting on courts “the difficult and inefficient task of

       determining what the defendant should have discovered.” Graiser, 819 F.3d

       at 285. Instead, the inquiry focuses on the “more administrable” question

       of whether the factual basis for removal is unequivocally clear on the face

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       of documents in the case “that the plaintiff has sent to the defendant.” Id.

       at 285.

            The district court disregarded those principles in holding that three

       documents—the complaint and removal notice in the AFFF Action, and New

       Hampshire’s initial disclosures in this case—each could have started the 30-

       day removal period under 28 U.S.C. § 1446(b)(3). None of those documents

       contained facts making unequivocally clear and certain that this case in-

       volves natural resources contaminated by PFAS stemming in part from Mil-

       Spec AFFF—which is no surprise in light of the disclaimers in the complaint

       and initial disclosures expressly disavowing damages from AFFF. 3M con-

       firmed that natural resources at issue were plausibly cross-contaminated

       by PFAS from MilSpec AFFF and non-AFFF sources based on an independ-

       ent investigation. Further, the complaint and the removal notice in the

       AFFF Action cannot have started the removal period. They are not docu-

       ments from this litigation, and the removal notice was not provided by New

       Hampshire to 3M.

                   1.    The complaint in the AFFF Action did not start the
                         mandatory removal period.

            The district court erred in holding (Add. 24-31) that the complaint in

       the AFFF Action started the 30-day removal period. A complaint from an-

       other case cannot start the removal period. And besides, the complaint in




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       the AFFF Action did not contain facts making unequivocally clear and cer-

       tain that natural resources at issue in this case were contaminated by PFAS

       from MilSpec AFFF and non-AFFF sources.

                         a.    A complaint from another case cannot start
                               the removal period.

             Under the bright-line rule discussed above (at 37), only a document

       from the litigation at hand can qualify as an “other paper” under 28 U.S.C.

       § 1446(b)(3). The complaint in the AFFF Action thus could not have started

       the removal period even if it contained the necessary facts demonstrating

       that this case was removable.

             The district court took the extraordinary step (Add. 24-28) of expand-

       ing the term “other paper” to encompass documents outside of the litigation.

       The court reasoned that this case involves “unique circumstances” that fa-

       vor starting the removal period based on an outside document. Add. 27-28;

       see id. (noting this case and the AFFF Action were filed on the same day,

       and share factual and legal questions, a plaintiff, a removing defendant, and

       several attorneys). But examining outside material in search of “unique

       circumstances” contravenes this Court’s “bright-line approach,” under

       which the “exclusive[]” focus is on whether there was “a paper, filed by the

       plaintiffs, that explicitly specifies” the basis for removal. Romulus, 770 F.3d

       at 76. The district court should not have expanded its inquiry into whether




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       3M “should have investigated, or . . . should have discovered” information

       outside the case. Id.

               Equally problematic, there is no limiting principle to the district

       court’s holding that outside documents start the removal period in “unique

       circumstances.” Plaintiffs will undoubtedly argue that there are circum-

       stances in which ordinary business records and other non-litigation docu-

       ments qualify as “other paper” under 28 U.S.C. § 1446(b)(3). District courts

       would have to evaluate on a case-by-case basis whether outside documents

       put the defendant on sufficient notice of removability. That would have the

       effect of imposing on defendants an “independent duty to investigate” these

       records, and would invite the very “[in]efficient, . . . fact-intensive mini-tri-

       als” that this Court’s “bright-line approach” is designed to avoid. Romulus,

       770 F.3d at 75, 76; see Graiser, 819 F.3d at 285 (similar). Indeed, this case

       exemplifies the peril of triggering the removal period based on documents

       from outside the litigation. The whole point of New Hampshire’s separate

       complaint in the AFFF Action was to try to prevent 3M from removing this

       case.

               None of the cases cited by the district court (Add. 26-27) supports ex-

       panding “other paper” to include outside documents. In Romulus v. CVS

       Pharmacy, Inc., supra, this Court interpreted “other paper” to include vari-

       ous types of litigation documents, rather than limiting it to filings formally

       served on the defendant. 770 F.3d at 78. But Romulus did not suggest that

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       “other paper” includes documents from another case. The triggering docu-

       ments in Romulus and the other decisions cited by the district court were

       directly related to the case being removed. Id. (correspondence about dam-

       ages); Addo v. Globe Life & Acc. Ins. Co., 230 F.3d 759, 761 (5th Cir. 2000)

       (settlement demand); Yarnevic v. Brink’s, Inc., 102 F.3d 753, 755 (4th Cir.

       1996) (memorandum supporting remand motion).

             The district court also cited (Add. 26-27) two decisions holding that,

       in narrow circumstances, a court order in another case may constitute an

       “order” under 28 U.S.C. § 1446(b)(3). Those circumstances are where the

       cases involve the same defendant and the court order “resolve[s] a legal un-

       certainty concerning the existence of original federal jurisdiction” in the re-

       movable case. Amgen, 516 F.3d at 534 (discussing Green v. R.J. Reynolds

       Tobacco Co., 274 F.3d 263 (5th Cir. 2001), and Doe v. Am. Red Cross, 14

       F.3d 196, 202-03 (3d Cir. 1993)).

             But neither Green nor Doe opined on the meaning of “other paper”

       under 28 U.S.C. § 1446(b)(3), much less drew into question this Court’s

       bright-line approach. See Hannah v. Schindler Elevator Corp., No. 3:09-cv-

       353, 2010 WL 143757, at *3-5 (W.D.N.C. Jan. 8, 2010) (making this point in

       holding that “discovery from a closely related—albeit separately filed—

       case” is not an “other paper”). Nor did the outside orders in Green and Doe

       supply the missing facts demonstrating removability, which is what the dis-

       trict court held that the complaint in the AFFF Action did here. See Add. 31.

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       Rather, they considered only the narrow question of whether a binding de-

       cision involving the same defendant that resolved a purely legal question

       was an “order” under 28 U.S.C. § 1446(b)(3). See Green, 274 F.3d at 268

       (Labeling Act preempts claims against tobacco manufacturers); Doe, 14 F.3d

       at 198 (defendant’s charter conferred original federal jurisdiction over suits

       against it).

             The Third Circuit has since held that Doe is “limited to the unique

       circumstances that arose in that case” and that 28 U.S.C. § 1446(b) “only

       address[es] developments within a case.” A.S. ex rel. Miller v. SmithKline

       Beecham Corp., 769 F.3d 204, 210-11 (3d Cir. 2014) (internal quotations

       omitted). Other circuits likewise have explained that Green and Doe “lim-

       ited their holdings to the unusual circumstances presented in those cases.”

       Dahl v. R.J. Reynolds Tobacco Co., 478 F.3d 965, 970 (8th Cir. 2007); see

       Amgen, 516 F.3d at 534 (similar).

                        b.    The complaint in the AFFF Action did not con-
                              tain facts making clear that this case was re-
                              movable.

             Even if outside documents could theoretically start the removal pe-

       riod, the complaint in the AFFF Action would not have done so. The com-

       plaint did not make “unequivocally clear and certain” that there are specific

       natural resources at issue in this case that were contaminated by PFAS

       from MilSpec AFFF. Dietrich, 14 F.4th at 1093. Like the complaint in this



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       case, that complaint in the AFFF Action generally alleged that natural re-

       sources in New Hampshire were contaminated by PFAS. A106 ¶ 2; A125

       ¶ 156; A166 ¶ 2; A191 ¶ 205. But neither complaint alleged that natural

       resources were cross-contaminated by PFAS from MilSpec AFFF and non-

       AFFF sources, much less identified any specific natural resources where

       cross-contamination occurred.

            The district court nonetheless held that the complaints made “clear

       . . . that there was overlap in the areas of contamination.” Add. 31; see Add.

       28 (holding that the complaints “clearly and unequivocally stated sufficient

       facts” for removal). Yet the court cited no specific language in the com-

       plaints alleging that natural resources at issue in this case were contami-

       nated by PFAS from MilSpec AFFF. And 3M had “no duty . . . to investigate

       or to supply facts” regarding sources of PFAS contamination that were not

       alleged within the four corners of the complaints. Romulus, 770 F.3d at 75.7

            The district court’s holding is especially dubious considering that New

       Hampshire itself has contended repeatedly that the lawsuits do not involve

       overlapping sites. Before the JPML, New Hampshire moved to vacate the



       7  The district court also cited statements made by the judge and plaintiff’s
       counsel at state court hearings, which ostensibly showed that “the cases in-
       volved statewide contamination.” Add. 29 (citing A669, A697). Even if that
       were true, it still would not have made removability unequivocally clear be-
       cause those statements did not assert that there are cross-contaminated
       natural resources, much less identify those natural resources.


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       order conditionally transferring this case to the AFFF multidistrict litiga-

       tion. In support, it argued that this case and the AFFF Action “do not in-

       volve the same contaminated groundwater” and that “[t]here is no overlap

       between” the site lists from its initial disclosures in this case and its fact

       sheet in the AFFF Action. Vacatur Motion at 13, AFFF Litig., ECF No.

       1453-1. The JPML relied on that argument in declining to transfer this case

       to the AFFF multidistrict litigation. See Transfer Vacatur, AFFF Litig.,

       ECF No. 1511. It is difficult to see how it could have been “clear from the

       [complaints] that there was overlap in the areas of contamination,” Add. 31,

       when New Hampshire argued that there was no overlap and a panel of

       judges concluded that the overlap was not sufficiently “obvious . . . to war-

       rant transfer of the State’s non-AFFF action,” Transfer Vacatur at 2, AFFF

       Litig., ECF No. 1511; see id. at 2 (discussing the “different contamination

       sites” that New Hampshire identified in this case and the AFFF Action).

            The district court also erred in holding (Add. 29-31) that it was incon-

       sistent for 3M to argue that New Hampshire could not frustrate federal ju-

       risdiction by disclaiming damages from AFFF while also “rel[ying]” on the

       disclaimer to support its argument that removal was timely. Add. 29. It is

       true that 3M “always” could have argued that the disclaimer was “ineffec-

       tive to defeat removal.” Id. But the ineffectiveness of the disclaimer is im-

       material to the question of whether the complaint contained the necessary

       facts to make removability clear, thereby triggering the mandatory removal

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       period under 28 U.S.C. § 1446(b)(3). In opposing remand, 3M discussed the

       disclaimer simply to provide additional context for why the complaint in this

       case did not make removability clear: New Hampshire was doing every-

       thing it could not to discuss AFFF. As 3M explained, it is unsurprising that

       the complaint did not make clear that the natural resources at issue were

       cross-contaminated when New Hampshire expressly disavowed damages

       from AFFF. See Remand Opp. 10. 3M removed the case only after “con-

       duct[ing] its own investigation” to connect the dots between certain at-issue

       natural resources and MilSpec AFFF. Graiser, 819 F.3d at 286.

             Finally, were there any doubt as to whether the complaint in the

       AFFF Action provided the requisite facts, the Court should construe the

       timeliness requirement in favor of removal. Courts construe the federal of-

       ficer removal statute, 28 U.S.C. § 1442, “liberally . . . to give full effect to

       [its] purposes.” Colorado v. Symes, 286 U.S. 510, 517 (1932). That is be-

       cause “the right of removal is absolute for conduct performed under color of

       federal office.” Arizona v. Manypenny, 451 U.S. 232, 242 (1981). And courts

       “extend section 1442’s liberal interpretation to section 1446” when “the

       timeliness of a federal officer’s removal is at issue.” Durham v. Lockheed

       Martin Corp., 445 F.3d 1247, 1253 (9th Cir. 2006). That rule advances the

       policies embodied in the federal-officer removal statute, including “safe-

       guarding officers and others acting under federal authority,” Symes, 286



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       U.S. at 517, and ensuring “a federal forum in which to assert federal im-

       munity defenses,” Watson, 551 U.S. at 150.

                   2.    The removal notice in the AFFF Action did not start
                         the mandatory removal period.

             The district court next held (Add. 31-32) that 3M’s notice of removal

       in the AFFF Action “trigger[ed] . . . the 30-day clock” to remove this case

       because the basis for removing both cases is the same. Add. 35. But that

       document could not start the removal period. It was not filed by the plaintiff

       and it is from outside the litigation. Under this Court’s bright-line rule, the

       removal period in “Section 1446(b)(3) does not apply until removability can

       first be ascertained from the plaintiffs’ own papers.” Romulus, 770 F.3d at

       74. And as explained above, outside documents cannot start the removal

       period. The Court should reverse on these bases alone.

             Regardless, the district court was incorrect that the “factual basis . . .

       is the same” for removing the lawsuits, and that the removal notice in the

       AFFF Action therefore included the facts necessary to trigger the removal

       period here. Add. 32. In the AFFF Action, the complaint expressly alleged

       that 3M sold AFFF to the military, that the military used that AFFF at

       specific facilities in New Hampshire, and that PFAS from use of AFFF at

       military facilities impacted natural resources in New Hampshire. A167

       ¶ 10; A178 ¶ 91; A191 ¶ 204; A195 ¶ 239. 3M’s removal notice therefore

       cited those allegations to show that the AFFF Action plausibly relates to


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       MilSpec AFFF. See Removal Notice ¶¶ 18-22, New Hampshire v. 3M Co.,

       D.N.H. 1:19-cv-800 (July 31, 2019), ECF No. 1.

            But to remove this case on federal officer grounds, 3M had to rely on

       additional information not contained in the complaint. Here, New Hamp-

       shire seeks damages purportedly caused by non-AFFF sources of PFAS and

       has disavowed damages from AFFF. A53-54 ¶ 34; A58 ¶ 74. New Hamp-

       shire repeated that disclaimer in its initial disclosures and emphasized that

       its non-exclusive site lists excluded sites contaminated by PFAS from AFFF

       sources. A143-44. To show that the case nonetheless relates to MilSpec

       AFFF, 3M conducted its own investigation to identify specific natural re-

       sources in New Hampshire that plausibly were contaminated by PFAS from

       both MilSpec AFFF and non-AFFF sources. See A32-35 ¶¶ 29-34. 3M

       therefore removed the case only after reviewing factual information outside

       the complaint to identify bodies of water that were cross-contaminated. See

       A32-34 ¶¶ 30-33.

            Although the removal notice in the AFFF Action did discuss “3M’s

       supply of MilSpec AFFF at Pease Air Force Base,” Add. 32, that alone did

       not provide the facts necessary to start the removal period in this case. 3M

       still had to investigate whether any natural resources were contaminated

       by PFAS both from MilSpec AFFF used at Pease Air Force Base and from

       non-AFFF sources. See A32-34 ¶¶ 30-32. 3M removed the case only after



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       reviewing PFAS inspection reports, water discharge permits, and a scien-

       tific article on PFAS distribution, which supported the argument that Great

       Bay and Piscataqua River were cross-contaminated. Id. But 3M had “no

       duty . . . to investigate or to supply” those facts. Romulus, 770 F.3d at 75.

       Thus, even if the removal notice in the AFFF Action could qualify as an

       “other paper,” it still did not supply the necessary facts to start the removal

       period in this case.

                   3.    New Hampshire’s initial disclosures did not start
                         the mandatory removal period.

             The district court likewise was incorrect to hold (Add. 33-34) that New

       Hampshire’s initial disclosures in state court supplied the necessary facts

       to start the removal period under 28 U.S.C. § 1446(b)(3). Nothing in those

       disclosures made it unequivocally clear that natural resources at issue in

       this case were contaminated by PFAS from MilSpec AFFF in addition to

       PFAS from non-AFFF sources. If anything, the disclosures sought to ob-

       scure that fact. Like the complaint, the disclosures stated that New Hamp-

       shire “is not seeking recovery for AFFF-related contamination.” A143. The

       disclosures included a non-exclusive list of sites where New Hampshire had

       identified “PFAS impacts.” A144. But New Hampshire was careful to “ex-

       clude” from that list “all sites with contamination known or suspected to be

       attributable to AFFF.” A144. Those statements were designed to try to

       prevent 3M from removing the case on federal officer grounds, not to clearly


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       and unequivocally “put [3M] on notice of the matter’s removability.” Rom-

       ulus, 770 F.3d at 80 n.11. And after supplying that list, New Hampshire

       argued before the JPML that this case and the AFFF Action “do not involve

       the same contaminated groundwater.” Vacatur Motion at 13-15, AFFF

       Litig., ECF No. 1453-1.

            The district court nonetheless held (Add. 33) that 3M should have in-

       ferred from the site list that the case was removable. The court reasoned

       that 3M could have “easily determine[d]” that this case relates to MilSpec

       AFFF based on the following: One of the sites on the list is “near” Pease Air

       Force Base, which is referenced in the complaint in the AFFF Action; the

       complaints generally allege that PFAS migrates long distances and that

       there is PFAS contamination in tidal estuaries; and “a large, well-known

       tidal estuary—the Great Bay—directly abuts Pease Air Force Base.”

       Add. 33. To begin with, the court should not have relied on the complaint

       in the AFFF Action, which, again, is not an “other paper” in this case. 28

       U.S.C. § 1446(b)(3). Besides, neither the site list nor the complaints so

       much as mentions Great Bay, let alone clearly and unequivocally asserts

       that Great Bay was contaminated by PFAS from MilSpec AFFF and non-

       AFFF sources.

            The court reckoned that 3M only needed to apply a “reasonable

       [amount] of intelligence” to uncover those facts. Add. 33 (quoting Cutrone,



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       749 F.3d at 143). But that is not how the duty to apply reasonable intelli-

       gence works. It simply requires defendants to “read[] . . . a plaintiff’s com-

       plaint” and other papers in a rational way. Cutrone, 749 F.3d at 145; see

       Romulus, 770 F.3d at 81 (similar). It is not a requirement “to look beyond

       [those papers] for facts giving rise to removability.” Cutrone, 749 F.3d at

       143. And that is exactly what 3M had to do here. Neither New Hampshire’s

       complaint nor its initial disclosures identified any natural resources con-

       taminated with PFAS from MilSpec AFFF. 3M had to look outside those

       papers to identify Great Bay and the Piscataqua River as locations where

       there plausibly was PFAS contamination from MilSpec AFFF and non-

       AFFF sources. See A32-34 ¶¶ 29-33.

             The Ninth Circuit recently confronted a similar situation in Orange

       County Water District v. 3M Co., No. 21-55778, 2022 WL 605630 (9th Cir.

       Mar. 1, 2022), and it held that 3M properly removed the case based on its

       own investigation of the facts. There, the district court held that the re-

       moval period started when a footnote in a co-defendant’s brief identified

       military installations in Orange County as “potential sources of the envi-

       ronmental contamination at issue.” Id. The Ninth Circuit reversed because

       the footnote did not “clearly and unequivocally reveal[]” that use of AFFF at

       those facilities was a source of the alleged PFAS contamination. Id. Like-

       wise, the initial disclosures in this case did not identify any military instal-

       lations as potential sources of PFAS contamination. Nor did they allege any

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       locations cross-contaminated by PFAS from MilSpec AFFF and non-AFFF

       sources. Indeed, the initial disclosures disclaimed all “recovery for AFFF-

       related contamination.” A143.

            The district court distinguished Orange County because the complaint

       in this case “alleged contamination cover[ing] the whole of New Hampshire,

       including certain military sites.” Add. 34. But that does not solve the prob-

       lem. No document that New Hampshire provided in this case put 3M on

       notice that specific natural resources in New Hampshire were cross-contam-

       inated by PFAS from MilSpec AFFF and non-AFFF sources. As in Orange

       County, New Hampshire’s documents drew no connection between MilSpec

       AFFF and the contamination at issue.         Rather, they generally alleged

       statewide harm from PFAS contamination, disclaimed damages from AFFF,

       and compiled a list of contamination locations that “exclude[d] all sites with

       contamination known or suspected to be attributable to AFFF.” A144; see

       A48 ¶ 2; A53-54 ¶ 34; A59 ¶ 74. That did not make unequivocally clear that

       the case is related to MilSpec AFFF. And as discussed above (at 46-47), any

       doubt as to whether a plaintiff’s paper provided the requisite facts should

       be construed in favor of removal.

            C.     Adopting The District Court’s Interpretation Would Have
                   Consequences That This Court Has Sought To Avoid.

            This case illustrates the problems that arise if statements crafted to

       avoid federal jurisdiction can start the removal period under 28 U.S.C.


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       § 1446(b)(3). None of the documents cited by the district court alleged that

       the natural resources at issue in this case were contaminated by PFAS from

       MilSpec AFFF. In fact, New Hampshire went out of its way to emphasize

       that its site list “excludes all sites with contamination known or suspected

       to be attributable to AFFF.” A144. And New Hampshire told the JPML

       that this case and the AFFF Action involve no overlapping sites. Vacatur

       Motion at 13-15, AFFF Litig., ECF No. 1453-1.

             Were 3M required to remove based on ambiguous statements by a

       plaintiff attempting to insulate its case from a federal forum, then defend-

       ants would have no choice but to “protectively remove when faced with an

       indeterminate” paper so as not to risk waiving the right to federal court.

       Romulus, 770 F.3d at 75. That would present defendants with the “intrac-

       table dilemma of either risking Rule 11 sanctions for noticing removal with-

       out making an adequate inquiry or foregoing removal altogether.” Harris,

       425 F.3d, at 697 n.11. It would also result in “fact-intensive mini-trials”

       over whether the pleadings or other plaintiff papers contained a sufficient

       clue to require removal. Romulus, 770 F.3d at 76; see Dietrich, 14 F.4th at

       1094 (seeking to avoid such “collateral litigation”).

             For that reason, this Court has interpreted 28 U.S.C. § 1446(b)(3) in

       a way that prevents plaintiffs from strategically starting the removal period

       without clearly “put[ting] the defendant on notice that the criteria for re-



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       moval are met,” and that encourages plaintiffs to speak with candor regard-

       ing their claims “early in litigation.” Romulus, 770 F.3d at 75, 78. That

       requires plaintiffs to “assume the costs associated with their own indeter-

       minate pleadings,” Cutrone, 749 F.3d at 144, but it also empowers plaintiffs

       to “protect themselves” from defendants that “might delay filing a notice of

       removal” by providing “a document from which removability may be ascer-

       tained,” Graiser, 819 F.3d at 286.

             But plaintiffs will be less likely to provide a thorough account if there

       is a potential windfall for obscuring or concealing the nature of the case.

       The Court should not interpret 28 U.S.C. § 1446(b)(3) in a manner that en-

       courages plaintiffs to lead defendants astray. Such a rule would transform

       the statute from a shield for plaintiffs to “protect themselves” from strategic

       removals, Roth, 720 F.3d at 1126, into a sword for plaintiffs to purposely

       obfuscate in the hopes that the defendant will miss some fact that triggers

       the mandatory removal period. And that is precisely what New Hampshire

       has done in this case. It has consistently disavowed damages caused by

       PFAS that came from AFFF, only to argue in support of remand that 3M’s

       removal was untimely and that 3M should have known all along that the

       case relates to MilSpec AFFF. The Court should not reward such an ap-

       proach—which contravenes Congress’s decision to authorize the removal of

       federal officer cases—much less adopt a rule that encourages it.



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                                      CONCLUSION

             The Court should reverse and remand with instructions that the dis-

       trict court recall its remand to state court.

       Dated: July 11, 2023                       Respectfully submitted,

                                                    /s/ Michael A. Scodro
       Joseph A. Foster                           Michael A. Scodro
         1st Cir. Bar. No. 122758                   1st Cir. Bar No. 1207763
       Mark C. Rouvalis                           Avi M. Kupfer
         1st Cir. Bar. No. 80343                    1st Cir. Bar. No. 1177771
       MCLANE MIDDLETON                           MAYER BROWN LLP
       900 Elm Street                             71 South Wacker Drive
       Manchester, NH 03101                       Chicago, IL 60606
       (603) 625-6464                             (312) 782-0600
       joe.foster@mclane.com                      mscodro@mayerbrown.com
       mark.rouvalis@mclane.com                   akupfer@mayerbrown.com

                            Counsel for Appellant 3M Company




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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE




       State of New Hampshire

             v.                                       Civil No. 22-cv-145-LM
                                                      Opinion No. 2023 DNH 032 P
       3M Company, et al.

                                             ORDER

             In late May 2019, the State of New Hampshire filed this parens patriae1 suit

       in state court against 3M Company, E.I. DuPont de Nemours & Company, and The

       Chemours Company alleging claims for negligence, defective design, failure to warn,

       trespass, and violating the public trust.2 The State alleges that the defendants

       supplied products containing certain per- and polyfluoroalkyl substances, which are

       commonly known as PFAS or PFAS compounds, in New Hampshire.3 The State

       asserts that the defendants knew or should have known that PFAS compounds,



             1  A parens patriae suit involves “a matter of sovereign or quasi-sovereign
       interest” and is brought by a state on behalf of all its citizens. 72 Am. Jur. 2d States,
       Territories, and Dependencies § 94.

             2 After filing its initial complaint, the State filed an amended complaint which

       added defendants Corteva, Inc., and DuPont de Nemours, Inc., and claims accusing
       defendants of engaging in what amounts to a fraudulent corporate shell game to avoid
       or minimize potentially significant liability. The state court later dismissed the
       State’s trespass and public trust claims, so those claims are no longer at issue in this
       suit.

             3  For the reader’s ease, the court uses “PFAS” and “PFAS compounds” as
       shorthand to refer to the several different chemical substances at issue in this suit,
       which include perfluorooctansulfonic acid (“PFOS”); perfluorooctanoic acid (“PFOA”);
       perfluorononanoic acid (“PFNA”); and perfluorohexanesulfonic acid (“PFHxS”); as
       well as those compounds’ chemical precursors.



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       when released into the environment, migrate long distances through soil,

       groundwater, and air, and they do not decompose through natural processes. The

       State alleges that PFAS contamination has occurred statewide, meaning

       throughout New Hampshire’s natural resources, including the entire state’s soil,

       groundwater, surface water, and wildlife.

                On April 29, 2022, three years after the State began this suit, 3M removed it

       under the federal officer removal statute, 28 U.S.C. § 1442(a)(1). 3M asserts that

       removal jurisdiction exists under § 1442(a)(1) because some of the contamination at

       issue in this suit plausibly overlaps with, or has commingled with, PFAS

       contamination from products known as Aqueous Film-Forming Foams (“AFFF”)

       that 3M supplied to the United States military per a military-created specification

       (“MilSpec AFFF”).

                The State moves to remand (doc. no. 12), asserting, among other arguments,4

       that 3M has not met the requirements for removal jurisdiction under § 1442(a)(1)

       because the State disclaimed in this suit any recovery for PFAS contamination from

       AFFF products. The State also contends that 3M did not timely remove this suit

       under 28 U.S.C. § 1446(b), which creates a 30-day clock for removal that begins

       when the removing defendant can first ascertain a case’s removability.




                4The State also contends that sovereign immunity precludes removal
       jurisdiction and that 3M’s asserted federal contractor immunity defense is not
       colorable. Because the court agrees with the State’s arguments under 28 U.S.C.
       §§ 1442(a)(1) and 1446(b), the court need not address these two additional arguments.
                                                      2

                                                Add. 2
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                 3M objects, arguing that the State’s disclaimer is legally ineffective and

       reiterating its position that some contamination at issue in this suit plausibly

       overlaps with contamination from AFFF it produced for the United States military.

       3M argues that its removal was timely because it only recently learned that this

       suit involved statewide contamination or that a plausible overlap in contamination

       exists.

                 The State’s motion to remand is granted for two reasons. First, 3M has failed

       to show that the requirements for removal jurisdiction under § 1442(a)(1) are met.

       The State disclaimed in this suit recovery for harm from AFFF contamination,

       which eliminates any connection between the State’s claims in this suit and 3M’s

       production of MilSpec AFFF. Second, 3M’s removal was untimely because the State

       broadly pleaded this statewide contamination suit from the outset, and the State

       clearly and unambiguously alleged facts from which 3M could have easily

       determined that some contamination at issue in this suit plausibly overlaps with

       contamination from AFFF it produced for the United States military. After

       summarizing the background facts, the court addresses both arguments.



                                       STANDARD OF REVIEW

                 Federal courts are courts of limited jurisdiction, and they “possess only that

       power authorized by Constitution and statute.” Exxon Mobil Corp. v. Allapattah

       Servs., Inc., 545 U.S. 546, 552 (2005). When a case is first brought in a state court,

       a defendant has the right to remove the case to federal court if it can show some



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        basis for federal jurisdiction. Danca v. Private Health Care Sys., Inc., 185 F.3d 1, 4

        (1st Cir. 1999). A defendant must remove a case within 30 days of when the

        grounds for removal can be first ascertained. See 28 U.S.C. § 1446(b).

                In this case, 3M asserts that this court has jurisdiction under the federal

        officer removal statute, § 1442(a)(1), which “allows private actors ‘acting under’

        color of federal authority to remove a state-court action ‘for or relating to any act

        under color of such office.’” Rhode Island v. Shell Oil Prods. Co., LLC, 35 F.4th 44,

        53 n.6 (1st Cir. 2022) (quoting § 1442(a)(1)). If a plaintiff files a motion to remand,

        the defendant shoulders the burden of showing that federal jurisdiction exists and

        that removal was proper. See Fayard v. Northeast Vehicle Servs., LLC, 533 F.3d

        42, 48 (1st Cir. 2008).


                                           BACKGROUND

        I.      The State files parallel lawsuits against 3M on the same day.

                On May 29, 2019, the State of New Hampshire filed this suit against 3M and

        several other defendants in Hillsborough County Superior Court. The same day

        that it filed this suit, the State filed a second lawsuit in the same court against 3M,

        DuPont, and others making virtually identical allegations of harm from PFAS

        contamination. From the inception of this litigation, 3M and the State have been

        represented by the same lead counsel in both cases.

                In both lawsuits, the State alleged that 3M supplied products containing

        PFAS compounds in New Hampshire when 3M knew or should have known that

        PFAS compounds are harmful to the environment and public health. And, in both


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       suits, the State alleged that 3M’s supply of substances containing PFAS has caused

       harmful, statewide contamination of New Hampshire’s natural resources—

       including its soil, groundwater, surface water, and wildlife.

                The one material difference between the two suits is that the State’s other

       lawsuit relates only to PFAS contamination from AFFF. The court refers to the

       other suit as the “AFFF Suit.”

                By contrast, in this suit the State expressly disclaimed any recovery for

       contamination caused by AFFF. This suit relates only to PFAS contamination from

       sources other than AFFF.

                Setting out this distinction, the initial complaint in this case alleged:

                      Through this action, the State is not seeking damages,
                      remediation, restoration or any other relief with respect to
                      any contamination related to Aqueous Film-Forming
                      Foam, which is a specialized category of products that
                      contain PFAS compounds, as that is the subject of a
                      separate action.

       Doc. no. 1-3. ¶ 29. Similarly, in the AFFF Suit, the State alleged that:

                      Through this action, the State is not seeking damages,
                      remediation, restoration or any other relief with respect to
                      any contamination from [PFAS] that is not related to the
                      manufacture and use of AFFF, as damages from those
                      compounds that are not from the manufacture and use of
                      AFFF are the subject of a separate action.

       Doc. no. 1-5 ¶ 29. The State has maintained this line between AFFF and non-AFFF

       contamination throughout the course of both this suit and the AFFF Suit.




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                A.      Facts alleged in the initial complaint in this lawsuit.5

                The State alleged in the initial complaint in this suit that PFAS compounds

       produced by 3M have been essentially ubiquitous throughout the State, as 3M was

       the “primary manufacturer of PFAS chemistry in the United States” for the last 70

       years and products with PFAS “have been used for decades in industrial settings”

       and “in the production of household and commercial products that are heat

       resistant, stain resistant, long lasting, and water and oil repellant.” Doc. no. 1-3

       ¶¶ 40, 65.

                PFAS compounds have “characteristics that cause extensive and persistent

       environmental contamination.” Id. ¶ 42. In particular, PFAS compounds are

       “bioaccumulative as well as mobile,” meaning that they “are readily transported

       through the air as well as the soil and into groundwater where they can migrate

       long distances.” Id. ¶ 45. PFAS compounds “do not readily biodegrade or

       chemically degrade in the environment or in conventional treatment systems for

       drinking water or wastewater.” Id. ¶ 46. And they are “difficult and costly to

       remove from soil and water.” Id. ¶ 49.

                In the initial complaint as well in its amended complaints, the State broadly

       alleged that 3M’s supply of PFAS has led to contamination of New Hampshire’s

       “natural resources,” which was defined to include, among other items, “the ocean



                5 The court reviews the facts as they were alleged in the initial complaint

       because whether 3M timely removed this suit depends on when the State first
       informed 3M of the facts supporting removability. The facts alleged in the State’s
       amended pleadings, as they are relevant to the issues in this order, are largely the
       same.
                                                         6

                                                   Add. 6
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       and its tidal estuaries,” “streams, rivers, lakes, [and] ponds,” as well as “all land . . .

       owned, managed, held in trust, or otherwise preserved or protected by the State.”

       Doc. no. 1-3 ¶ 2. The State alleged that PFAS compounds supplied by 3M have

       accumulated in New Hampshire’s soil, groundwater, surface water, and wildlife

       including birds and game. E.g., id. ¶¶ 156, 172, 179, 188. The State alleged that

       contamination has occurred statewide, meaning that the State wants to recover in

       this action damages for contamination throughout the entire state, rather than in

       one or several discrete geographic locations. E.g., id. ¶ 11 (“PFAS has impacted

       groundwater above current standards in every county in the State.”); id. ¶ 14

       (“Defendants’ manufacture, distribution, and sale of [PFAS] has caused, and

       continues to cause, widespread injury to the State’s groundwater and surface water,

       fish, wildlife, marine resources, and other natural resources, as well as its

       citizens.”); id. ¶ 156 (“[PFAS compounds] have been found in soil, groundwater,

       surface water, sediments, fish, wildlife, marine resources, biota, and other natural

       resources in locations throughout New Hampshire.”). The initial complaint does not

       exclude any location in New Hampshire from this lawsuit’s scope, only damage

       caused by AFFF.


                B.      Facts alleged in initial complaint in the AFFF Suit.

                The State’s initial complaint in the AFFF Suit contained similar allegations

       as its initial complaint in this case. In addition to its allegations about the harm

       caused by PFAS and the scope of the lawsuit (also statewide and covering the

       entirety of New Hampshire’s “natural resources”), the State specifically alleged that


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       3M had supplied AFFF to the United States military in New Hampshire, noting, for

       example, that “[f]rom the 1960s through 2001, the United States Department of

       Defense purchased AFFF exclusively from 3M and Tyco/Ansul.” Doc. no. 1-5 ¶ 91.

       Furthermore, the State identified “the Pease Air Force Base in Newington [New

       Hampshire]; . . . [and] the New Boston Air Force Station Former Fire Department”

       as locations (among others) at which 3M had supplied AFFF that had contaminated

       the state’s natural resources. Id. ¶ 10.


       II.      3M removes the AFFF Suit to federal court.

                In late July 2019, 3M removed the AFFF Suit to federal court under the

       federal officer removal statute, § 1442(a)(1). State v. 3M, Case No. 19-cv-800-JD,

       ECF doc. no. 1. In its notice of removal in the AFFF Suit, 3M asserted that the

       court had removal jurisdiction under § 1442(a)(1) because at least some of the PFAS

       contamination for which the State sought to hold 3M liable resulted from 3M’s

       production of MilSpec AFFF—that is, AFFF that 3M produced for the United States

       military under a military specification. Id. at 8. In particular, 3M observed that

       “[p]laintiff’s own allegations confirm that its alleged injuries arise in part from the

       use of MilSpec AFFF at military sites in New Hampshire and that 3M and the other

       Defendants were ‘acting under’ federal officers of the Department of Defense and its

       agencies when manufacturing MilSpec AFFF.” Id. At that time, 3M also detailed

       its knowledge of the history of MilSpec AFFF, its supply of MilSpec AFFF to the

       United States military, and its disclosure of and the government’s knowledge of the

       potential dangers of AFFF.


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                The State did not contest removal of the AFFF Suit. Soon after 3M removed

       the AFFF Suit, the Judicial Panel on Multidistrict Litigation transferred the AFFF

       Suit to the District of South Carolina for participation in the AFFF multidistrict

       litigation (“MDL”), In re Aqueous Film-Forming Foams Products Liability

       Litigation, MDL No. 2874 (D.S.C.).


       III.     3M moves to change venue from Hillsborough County to Merrimack County.

                Although it removed the nearly identical AFFF Suit, 3M continued to litigate

       this suit in state court. In October 2019, 3M moved to change venue, arguing that

       venue of this suit was improper in Hillsborough County. 3M contended that the

       proper venue for the suit was Merrimack County because the State’s allegations

       “form the basis of a transitory action, as they ‘have no locality,’” and “the purported

       harm to birds, fish, rivers, streams, and other natural resources is not alleged to be

       local or fixed to any one geographic location; the Complaint contemplates a harm

       that is transitory, sporadic in nature, and crosses county borders.” Doc. no. 12-3 at

       4; id. at 5 (“The alleged environmental contamination caused by the Defendants

       could have—and allegedly has—arisen throughout the State . . . .”). Likewise,

       during a February 2020 hearing on the motion, 3M observed that the State’s claims

       were “sweeping statewide claims,” noting in particular 3M’s understanding (based

       on the complaint) that the State’s claims included not only “land” but also “things

       that move” such as wildlife and “[r]ivers, brooks, streams, [and] things that are not

       in one location . . . .” Doc. no. 12-4 at 4.




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                In June 2020, the superior court (Nicolosi, J.) found that venue was improper

       in Hillsborough County and transferred the case to Merrimack County Superior

       Court. See RSA 507:9 (fixing venue in “transitory actions” to the “county or judicial

       district” in which an in-state party resides); State v. Cote, 95 N.H. 108, 110 (1948)

       (stating that the State’s principal place of business is the county in which its capital

       is located). The superior court found that the complaint alleged a claim “that is

       effectively universal throughout New Hampshire.” Doc. no. 12-5 at 8. The court

       continued, stating that, according to the allegations in the complaint, “[t]he

       invasion of PFAS has not targeted one county, or even distinct contiguous land in

       multiple counties. Rather the contamination is so pervasive that the complaint

       makes no attempt to even identify any specific property upon which defendants

       have trespassed.” Id. Further, the superior court stated that “these claims . . . have

       arisen in every county and the claim is more a complaint as to all land in the state.”

       Id.6




                6 The defendants also moved to dismiss the State’s trespass claim for failure to

       state a claim. The court granted defendants’ motion in that respect, finding that “the
       State’s allegation of a statewide trespass is too vague . . . as the Court cannot assess
       which lands have been trespassed upon and whether the State meets the requisite
       possessory rights for those lands.” Doc. no. 12-5 at 19. While the State opposed the
       motion, it did not dispute the characterization of the complaint as alleging harm
       throughout the entire state. See doc. no. 12-5 at 6-7 (describing the State’s
       opposition).
                                                      10

                                                 Add. 10
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       IV.      In response to the second amended complaint, 3M alleges a federal contractor
                immunity defense but does not then remove the lawsuit.

                After the state court granted defendants’ October 2019 motion, the State filed

       its first amended complaint, which contained the same substantive factual

       allegations as the initial complaint.

                Defendants then moved to dismiss the amended complaint, arguing that the

       State’s public trust claim failed to state a claim upon which relief could be granted.

       In April 2021, the state court (Kissinger, J.) held a hearing on the motion to

       dismiss. Doc. no. 23-7 at 24 (start of transcript); doc. no. 23-8 (transcript

       continued). During the hearing, the State observed that its substantive allegations

       were unchanged from the initial complaint and stated that “[t]his case is about

       widespread contamination of public resources, and the State’s drinking water,

       groundwater, surface water, land, natural resources, including wildlife, and other

       public properties.” Doc. no. 23-8 at 11. The State contended that PFAS compounds

       are released “into water in the form of liquid,” “in powder form,” and “by smoke

       stacks into the air.” Id. at 13. The State added that PFAS compounds “can be

       discharged into waste streams” and “[t]here are numerous pathways by which these

       compounds are released into the environment, make their way into the natural

       world, water, land, [and] into public [] drinking water.” Id. at 13-14.

                The court granted defendants’ motion to dismiss the State’s public trust

       claim, and the State subsequently filed a second amended complaint. In October

       2021, 3M answered the second amended complaint. In its answer, 3M asserted a

       federal contractor immunity defense, specifically stating that “[s]ome or all of the


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       Plaintiff’s claims are barred, in whole or in part, because 3M is not responsible or

       liable for any acts or omissions undertaken by or at the direction of any

       governmental authority or agency.” Doc. no. 12-11 ¶ 15. 3M, however, did not

       attempt to remove this suit at that time.


       V.       The State produces a non-exhaustive list of locations with PFAS
                contamination that includes a site near Pease Air Force Base.

                On December 17, 2021, the State produced, as part of its initial disclosures, a

       non-exhaustive list of 244 locations within New Hampshire with PFAS

       contamination. That list, which the State noted was limited to sites for which a

       state agency had opened a discrete investigation file, included locations throughout

       New Hampshire, but it did not list Pease Air Force Base or any military facility.

       The list, however, did include a location near Pease Air Force Base, namely, PSNH

       Schiller Station.

                The State acknowledged in its initial disclosures that “there may be

       references to investigations or sites with connections to the use of” AFFF, but

       reiterated that, considering its disclaimer for AFFF contamination, any references

       “should not be construed as indicating that the State seeks recovery in this case for

       contamination caused in whole or in part by AFFF . . . .” Doc. no. 1-4 at 2. The

       State also asserted that the sites it identified in its initial disclosures “do not

       represent the location of the harm resulting in the totality of the State’s claimed

       damages.” Id. at 3.




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       VI.      3M removes this suit under the federal officer removal statute three years
                after it began and while it was on appeal before the New Hampshire
                Supreme Court.

                The litigation of this suit in state court continued. In July 2021, the state

       superior court denied a motion to dismiss two defendants for lack of personal

       jurisdiction (Corteva and The Chemours Company). Those defendants appealed the

       court’s denial of their motion to the New Hampshire Supreme Court, which heard

       oral argument in late February 2022.

                Meanwhile, in March 2022, the parties prepared for a case structuring

       conference before the superior court. In preparing for the conference, the parties

       disputed certain discovery issues, and, in particular, the State hotly disputed 3M’s

       request to issue approximately 12,000 interrogatories. 3M’s request was premised

       on its claimed belief that the case would involve 244 trials or “mini-trials”—one for

       each of the 244 sites listed by the State in its December 2021 initial disclosures.

       Thus, 3M asserted, it should be permitted to issue 50 interrogatories for each site

       on the State’s list.

                On March 30, 2022, the State responded by reiterating that “[t]his is a state-

       wide contamination case that will be tried on alternative liability theories, not a

       site-by-site case requiring 244 mini site-specific trials as 3M suggest[s].” Doc. no.

       1-6 at 4. The State continued, stating that it had “repeatedly explained” that “the

       identified sites do not demonstrate the totality of the State’s harm. The State’s

       natural resources, including substantial surface and groundwater resources, are

       contaminated across the State, and the State is seeking recovery for harm to those

       resources which cannot be identified in a site list.” Id.
                                                       13

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                On April 29, 2022—30 days after the State’s response and nearly three years

       after the State began this suit—3M removed this suit under § 1442(a)(1) claiming

       that the State’s response was the first time it learned that this suit involved

       statewide contamination.7


                                           DISCUSSION

                The State moves to remand. Among other arguments, the State contends

       that the court lacks removal jurisdiction under § 1442(a)(1) because, considering the

       disclaimer for contamination from AFFF, 3M has not shown that a connection exists

       between the State’s claims and 3M’s production of MilSpec AFFF. The State also

       argues that 3M’s removal of this suit nearly three years after it began was untimely

       under 28 U.S.C. § 1446(b), which creates a 30-day clock to remove that begins when

       the removing defendant can first ascertain removability. The State argues that 3M

       could have first ascertained the removability of this suit under § 1442(a)(1) no later

       than December 17, 2021, when the State provided its initial disclosures that

       referenced sites or investigations with connections to 3M’s supply of AFFF. The

       State thus argues that 3M should have removed the case by mid-January 2022, and

       its failure to do so requires remand.

                3M objects. 3M argues that a connection exists between the State’s claims

       and 3M’s supply of MilSpec AFFF because PFAS contamination from MilSpec AFFF

       has plausibly overlapped or commingled with contamination from other sources. As


                7 The New Hampshire Supreme Court had not issued a ruling at the time of

       3M’s removal, and it subsequently dismissed the pending appeal.


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       to timeliness, 3M argues that the State’s initial disclosures were insufficient

       because they did not connect 3M’s supply of MilSpec AFFF to any specific location

       at issue in this suit. Rather, 3M contends that if removal were ever ascertainable,

       it was only after the State disclosed in late March 2022 that this suit involved

       statewide contamination. 3M also contends that the State’s disclaimer of recovery

       for AFFF contamination created an ambiguity as to whether the case could be

       removed.

                The court first addresses the parties’ arguments as to the existence of

       removal jurisdiction under § 1442(a)(1), and then discusses their arguments as to

       timeliness under § 1446(b).8


       I.       The Federal Officer Removal Statute

                The State first argues that remand is warranted because there is no

       jurisdiction under the federal officer removal statute, 28 U.S.C. § 1442(a)(1). The

       court agrees.

                The federal officer removal statute, § 1442(a)(1), is a “specialized removal

       statute” that “allows private actors ‘acting under’ color of federal authority to

       remove a state-court action ‘for or relating to any act under color of such office.’”




                8 Prior to
                         his recusal, Judge Barbadoro held oral argument on the State’s
       motion to remand. The court has reviewed the transcript of oral argument in making
       this ruling and finds that no further argument is necessary or warranted to aid the
       court’s decision.


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       Rhode Island, 35 F.4th at 53 n.6 (quoting 28 U.S.C. § 1442(a)(1)).9 Removal is

       permissible under § 1442(a)(1) if the removing party shows (1) that it “acted under a

       federal officer”; (2) that the claims against it are “for” or relate to “the alleged

       official authority”; and (3) that it “will raise a colorable federal defense.” Id. (citing

       Moore v. Elec. Boat Corp., 25 F.4th 30, 34 & n.2 (1st Cir. 2022)).10

                Congress intended § 1442(a)(1) to provide “broad” removal rights to a

       defendant who works with the federal government and asserts a federal defense.

       Willingham v. Morgan, 395 U.S. 402, 406 (1969) (“At the very least [§ 1442(a)(1)] is

       broad enough to cover all cases where federal officers can raise a colorable defense

       arising out of their duty to enforce federal law. One of the primary purposes of the

       removal statute—as its history clearly demonstrates—was to have such defenses

       litigated in the federal courts.”). Thus, unlike the general removal provision, which




                9 Specifically, § 1442(a)(1) states that a defendant may remove a

       state-court action that is against or directed to:

                      The United States or any agency thereof or any officer (or
                      any person acting under that officer) of the United States
                      or of any agency thereof, in an official or individual
                      capacity, for or relating to any act under color of such office
                      or on account of any right, title or authority claimed under
                      any Act of Congress for the apprehension or punishment of
                      criminals or the collection of the revenue.
                10 3M asserts a federal contractor immunity defense. To prove that defense,
       the defendant must establish three elements: “(1) the United States approved
       reasonably precise specifications; (2) the equipment conformed to those specifications;
       and (3) the supplier warned the United States about the dangers in the use of the
       equipment that were known to the supplier but not to the United States.” Boyle v.
       United Tech. Corp., 487 U.S. 500, 512 (1988).


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       is strictly construed in favor of remand, § 1442(a)(1) is broadly construed in favor of

       removal. Watson v. Philip Morris Cos. Ins., 551 U.S. 142, 147-48 (2007).

                The requirement that a claim be “for” or “relate to” the alleged federal

       authority is a “nexus” requirement, but not a causation requirement. Moore, 25

       F.4th at 34 & n.2. That is, only a “nexus” between the claims and the alleged

       official authority need exist; it is sufficient that at least one of the plaintiff’s claims

       is “connected” or “associated” with the defendant’s acts under color of federal office.

       Baker v. Atlantic Richfield Co., 962 F.3d 937, 943-44 (7th Cir. 2020) (explaining

       that 2011 amendments to § 1442(a)(1) removed requirement of causal connection

       and collecting appellate cases holding likewise).

                Other federal courts have found that similar, specific limitations on the scope

       of a plaintiff’s claims eliminate a potential relationship between the plaintiff’s

       claims and a defendant’s federal acts. For example, in Hayden v. 3M Company, the

       plaintiff alleged that he suffered from mesothelioma caused by lifetime exposure to

       asbestos and asbestos-based products produced by 78 different defendants. No. 15-

       2275, 2015 WL 4730741, at *3-4 (E.D. La., Aug. 10, 2015). However, the plaintiff

       disclaimed any recovery for injuries resulting from asbestos exposure during his

       service in the United States Navy. Id.

                During a deposition the plaintiff nonetheless testified that two of the named

       defendants had manufactured a product which enhanced his exposure to asbestos

       while he served in the Navy. Id. Based on that testimony, one defendant removed

       the case to federal court under § 1442(a)(1). Id. The plaintiff moved to remand,



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       arguing that the disclaimer precluded federal jurisdiction. Id. The district court

       agreed, finding that the disclaimer was like those in other cases in which

       jurisdiction was found lacking. Id. at *3. Considering that precedent, the district

       court found that the disclaimer “eliminates any cause of action related to exposure

       while [the plaintiff] was in the Navy and the only valid grounds for removal relate

       to that specific time period.” See id. at *4.

                The court lacks removal jurisdiction under § 1442(a)(1) because 3M has not

       shown that a “nexus” exists between the State’s claims in this case and 3M’s alleged

       acts under federal authority. Like the plaintiff in Hayden, the State has

       consistently disclaimed any recovery for contamination resulting from 3M’s

       production of AFFF. That disclaimer is effective and eliminates the connection

       between the State’s broad statewide claims and 3M’s production of MilSpec AFFF

       for the United States military. See 28 U.S.C. § 1442(a)(1); Batchelor v. Am. Optical

       Corp., 185 F. Supp. 3d 1358, 1363-64 (S.D. Fla. 2016) (stating that federal courts

       have “consistently” granted motions to remand in cases where the plaintiff

       expressly disclaims recovery for the claims on which federal removal is based);

       Hayden, 2015 WL 4730741, at *3-4; but see Nessel v. Chemguard, Inc., 2021 WL

       744683 (W.D. Mich. Jan. 6, 2021) (denying motion to remand in case removed under

       federal officer removal statute when plaintiff disclaimed recovery for contamination

       from MilSpec AFFF but not commercially produced AFFF).11



                11 Courts generally find that non-specific disclaimers which purport to waive

       all federal claims based on generic, boilerplate language are ineffective.           See


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                Here, as in Hayden, there is no scenario under which 3M could be found

       liable for any damages caused by AFFF. That is, regardless of whether 3M’s AFFF

       conformed to a specification required by the United States military or whether 3M

       appropriately warned the government about the dangers of PFAS, 3M cannot be

       liable in this case for contamination resulting from its alleged supply of MilSpec

       AFFF. Doc. no. 12-1 at 10-11 (State’s motion to remand) (“Because the State is not

       making any claims here for injuries from the only product that 3M asserts it

       supplied at the direction of a federal officer, the validity of that assertion will simply

       not be tested in this action.”). If the evidence, for example, shows that AFFF caused

       any of the damages in this case, the portion attributable to AFFF would be

       subtracted from any damages awarded the State. And if no apportionment is

       possible, no damages could be awarded. 3M would prevail without any need to

       assert a defense premised on its acts under federal authority. To the extent AFFF

       is relevant, its presence in the contamination could eliminate recovery for the

       State—regardless of why or for whom 3M made it. The State’s claims are neither

       “for” — nor do they “relate to” — 3M’s actions under federal authority.




       Batchelor, 185 F. Supp. 3d at 1363 (describing circumstances in which disclaimers
       are ineffective). 3M does not contend that the State’s disclaimer falls within this
       category of generic disclaimers (i.e., those that disclaim all federal claims without
       specifying which ones). It is undisputed that the State’s disclaimer here, which
       identifies specific claims against 3M for its production of AFFF, is not such a generic
       disclaimer.


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                3M relies primarily on Nessel v. Chemguard, Inc., to support its position.12

       In Nessel, the court denied remand and found that the requirements of the federal

       officer removal statute were met when, as here, the plaintiffs (in effect, the State of

       Michigan) brought parallel PFAS contamination suits against several defendants.

       Id. at *1. One suit related only to PFAS contamination from commercially produced

       AFFF, while the second suit related only to MilSpec AFFF.13 Id. The defendants

       removed the commercial AFFF suit under § 1442(a)(1), and the plaintiffs moved to

       remand. Plaintiffs argued, as the State does here, that no “nexus” existed between

       their claims in the commercial AFFF case and the defendant’s acts under official

       authority. Id.

                The district court denied the motion to remand, finding that the record did

       not make it clear whether injuries from commercial AFFF and MilSpec AFFF “will

       be distinguishable.” Id. at *3. On the contrary, the court stated that the trial court

       “will likely have to engage in a detailed fact-finding process to determine whether

       the injuries from MilSpec and Commercial AFFF can be distinguished . . . .” Id.

       Nor was the record clear in Nessel on whether plaintiffs’ harm in fact “occurred

       from actions taken while Defendants were acting under color of federal office[.]” Id.

       The court explained that, notwithstanding the plaintiffs’ limitation of their case to




                12 3M contends that the Judicial Panel on Multidistrict Litigation “endorsed”

       the reasoning in Nessel when it transferred that case to the In re AFFF MDL. Doc.
       no. 39 at 2 n.2. However, the court could find no such endorsement in the documents
       cited by 3M. See id.

                13 The MilSpec AFFF suit in Nessel was originally filed in federal court.


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       commercial AFFF, “Plaintiffs cannot decide what defense Defendants might

       present. Consider, for example, a tort case: a plaintiff can allege that a defendant

       and only that defendant caused his injury, but a plaintiff cannot prevent a

       defendant from presenting an alternate theory of causation.” Id.

                The instant case is distinguishable from Nessel because the State’s two cases

       here involve AFFF and non-AFFF contamination, rather than contamination from

       two different kinds of AFFF. In Nessel, whether an alternate source of

       contamination was MilSpec AFFF, as opposed to another version of AFFF, was

       legally significant because the defendants’ liability turned on whether the factfinder

       concluded that the defendant produced the AFFF for the federal government under

       a military specification. Here, unlike Nessel, whether an alternate source of

       contamination was MilSpec AFFF is irrelevant because this suit does not involve

       AFFF, regardless of whether it is MilSpec or another version of AFFF.

                In addition, the court does not find the reasoning of Nessel persuasive. If the

       sources of contamination cannot be distinguished, 3M cannot be held liable. That

       is, the State will fail to establish its own case, which is premised on the existence of

       contamination from some non-AFFF source. And, if a factfinder can distinguish the

       sources of contamination, 3M will prevail to the extent the factfinder determines

       contamination came from AFFF. This is true regardless of whether 3M supplied

       the AFFF under federal authority or warned the government about its dangers.

                In a final attempt to persuade the court that the State’s disclaimer is

       ineffective to defeat removal, 3M points to the inapplicability of the “well-pleaded



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       complaint rule” in cases removed under § 1442(a)(1). The well-pleaded complaint

       rule governs the determination of whether a case arises under federal law for

       purposes of federal question jurisdiction. E.g., Rhode Island, 35 F.4th at 51. The

       court must make the determination from the face of the plaintiff’s complaint —

       mindful that the plaintiff is “master” of its claims. Id. So, in most circumstances,

       the non-federal cast of a complaint will prevent the defendant from removing it. Id.

       The federal officer removal statute, however, overrides the well-pleaded complaint

       rule—at least inasmuch as removal jurisdiction under § 1442(a)(1) turns on the

       defendant’s assertion of a colorable federal defense. See, e.g., Durham v. Lockheed

       Martin Corp., 445 F.3d 1247, 1253 (9th Cir. 2006).

                While 3M is correct that the well-pleaded complaint rule does not apply

       under § 1442(a)(1), the defendant must still establish that a nexus exists between

       the “charged conduct and the asserted official authority.” Jefferson Cnty., Ala. v.

       Acker, 527 U.S. 423, 431 (1999). Simply asserting a federal defense is not, on its

       own, sufficient to show removal jurisdiction under § 1442(a)(1). Rather, § 1442(a)(1)

       also requires that the plaintiff’s claims have a nexus to the defendant’s acts under

       federal authority. Id. The nexus does not exist here — for the reasons already

       explained.

                In sum, 3M has not met its burden to show that a nexus exists between the

       claims in this case and its alleged actions under federal authority. Therefore,

       remand is necessary.




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       II.      Timeliness of Removal.

                The State also argues remand is necessary because 3M’s removal of this case

       was untimely under 28 U.S.C. § 1446(b), which requires a defendant to remove a

       case within 30 days of when its removability can be first ascertained. The court

       agrees.

                A notice of removal in a civil action “shall be filed within 30 days after the

       receipt by the defendant, through service or otherwise, of a copy of the initial

       pleading setting forth the claim for relief upon which such action or proceeding is

       based . . . .” 28 U.S.C. § 1446(b)(1). “[I]f the case stated by the initial pleading is

       not removable, a notice of removal may be filed within 30 days after receipt by the

       defendant, through service or otherwise, of a copy of an amended pleading, motion,

       order or other paper from which it may first be ascertained that the case is one

       which is or has become removable.” Id. § 1446(b)(3).

                In practice, the 30-day clock begins if either one of two conditions exists: (1)

       the case stated by the initial complaint is removable or (2) subsequent papers allow

       the defendant to ascertain removability. See Romulus v. CVS Pharm., Inc., 770

       F.3d 67, 72 (1st Cir. 2014) (“We now hold that Section 1446(b)’s thirty-day clocks

       are triggered only when the plaintiffs’ complaint or plaintiffs’ subsequent paper

       provides the defendant with sufficient information to easily determine that the

       matter is removable.”). Unless the issue is waived, a case removed after the 30-day

       clock begins and ends must be remanded. See Universal Truck & Equipment

       Company, Inc. v. Southworth-Milton, Inc., 765 F.3d 103, 110 (1st Cir. 2014).



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                “When removability is not clear from the initial pleading,” the court “looks to

       the plaintiffs’ subsequent papers” to determine whether or when removability first

       became ascertainable. See Romulus, 770 F.3d at 74. In assessing whether

       subsequent papers start the 30-day clock, the First Circuit applies a “bright-line

       approach” that looks to whether the “plaintiffs’ pleadings or the plaintiffs’ other

       papers provide the defendant with a clear statement of” the grounds for removal or

       with “sufficient facts” from which the grounds for removal can be “easily

       determined.” See id. at 69, 72; accord Dietrich v. Boeing Co., 14 F.4th 1089, 1093

       (9th Cir. 2021) (stating that the facts that demonstrate removability must be stated

       “clearly” and “unequivocally” before 30-day clock begins).

                The defendant has “no duty” to “investigate or to supply facts outside of those

       provided by the plaintiff.” Romulus, 770 F.3d at 75. At the same time, the

       defendant must “apply a reasonable amount of intelligence in ascertaining

       removability.” Id. (quoting Cutrone v. Mortgage Electronic Registration Sys., Inc.,

       749 F.3d 137, 143 (2d Cir. 2014)). The use of a “reasonable amount of intelligence”

       includes considering uncontested information in the record, even if the defendant

       originally produced the information. See id. at 79 n.9.


                A.      The First Circuit construes the term “other paper” broadly and the
                        initial complaint in the AFFF Suit qualifies.

                To determine whether the 30-day clock started under § 1446(b)(3), the court

       must analyze what is “apparent on (or easily ascertainable from) the face of the

       plaintiff’s pleadings” and “other papers.” Id. at 72-75. A threshold issue in

       determining when 3M could first ascertain the removability of this suit is which

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       papers the court may consider, and, in particular, whether documents filed in the

       AFFF Suit can be considered “other paper” for purposes of triggering the 30-day

       clock under § 1446(b)(3) in this suit. Notably, the State’s initial complaint in the

       AFFF Suit fills in several details about 3M’s supply of AFFF for the United States

       military, and the facts alleged in the AFFF Suit underlie 3M’s removal of this suit.

                Ordinarily, papers filed in one case would not be relevant and could not be

       considered in ascertaining the removability of another case. See Wisconsin v.

       Amgen, Inc., 516 F.3d 530, 534 (7th Cir. 2008) (holding, in a case that did not

       involve identical parties, that “there can be no removal on the basis of an order or

       other document in another case” but leaving open the possibility that a case with a

       “distinguishing feature” might except it from the general rule). However, under the

       unique circumstances here, the First Circuit’s reasoning in Romulus provides

       support for considering papers filed in the AFFF Suit. See 770 F.3d at 77.

                In Romulus, the defendant removed the suit under statutes that permit

       removal of a class-action suit if the amount in controversy exceeds $5,000,000 and

       other requirements are met. Id. at 70. The removal occurred more than 30 days

       after the filing of the initial complaint. Id. The plaintiff moved to remand, and the

       district court granted the motion on the ground that removal was untimely. The

       district court found no basis to trigger the 30 days under § 1446(b)(3). Id. at 71.

                The First Circuit reversed, concluding that § 1446(b)(3) applied because the

       defendant had received an informal email from plaintiff’s counsel which, for the

       first time, disclosed data to the defendant that was “a very important component” of



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       its amount-in-controversy calculation. Id. at 71. This data, when combined with

       the plaintiff’s pleadings and other data provided by the defendant in an earlier

       notice of removal, was sufficient for the defendant to “easily determine” the case’s

       removability, thus triggering the 30-day clock for removal. Id. at 72. Because the

       defendant removed the case within that 30-day period, the First Circuit concluded

       that the defendant’s removal was timely under § 1446(b)(3). Id.

                The First Circuit took a practical and common-sense approach to answering

       the fact-intensive question of what constitutes sufficient notice of removability. The

       court interpreted § 1446(b)(3)’s term “other paper” to include documents such as

       “informal correspondence from the plaintiff to the defendant.” Id. at 78. Thus,

       under Romulus, a document need not be formally filed in a case or served on the

       defendant to be considered an “other paper” for purposes of removal. Id. It is more

       important that the document came from the plaintiff, was received by the removing

       defendant, and unambiguously revealed facts that affected the removability of the

       case at hand. See id. (“We hold that correspondence from the plaintiff to the

       defendant concerning damages can constitute an ‘other paper’ for purposes of

       Section 1446(b)(3).”); 28 U.S.C. § 1446(b)(3) (stating that the 30-day clock begins

       when the defendant receives “through service or otherwise,” inter alia, an “other

       paper” that first allows it to ascertain removability) (emphasis added).

                Where there are multiple cases involving the same defendant, courts have

       looked to orders issued in those other cases to determine whether information in

       those orders trigger § 1446(b)(3)’s 30-day clock. The Fifth and Third Circuits have



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       held that, in special circumstances, when a defendant which sought removal was a

       party in an unrelated case and in that case the court issued an “order” that affected

       the case’s removability, the order triggered the 30-day clock under § 1446(b)(3). See

       Green v. R.J. Reynolds Tobacco Co., 274 F.3d 263, 267 (5th Cir. 2001) (“[A] decision

       by a court in an unrelated case, but which involves the same defendant, a similar

       factual situation, and the question of removal [] can constitute an ‘order’ under

       § 1446(b).”); Doe v. Am. Red Cross, 14 F.3d 196 (3d Cir. 1993) (same). The cases

       which the First Circuit relied on in Romulus are likewise consistent with this rule.

       See Addo v. Globe Life and Acc. Ins. Co., 230 F.3d 759, 761-62 (5th Cir. 2000)

       (“[O]ther paper must result from the voluntary act of a plaintiff which gives the

       defendant notice of the changed circumstances which now support federal

       jurisdiction.”); see also Yarnevic v. Brink’s, Inc., 102 F.3d 753, 755 (4th Cir. 1996)

       (“We do not think § 1446(b) requires that the ‘motion, order or other paper’ be part

       of the state court record, . . . . The ‘motion, order or other paper’ requirement is

       broad enough to include any information received by the defendant, ‘whether

       communicated in a formal or informal manner.’”).

                Considering the First Circuit’s approach to this question in Romulus, and

       under the unique circumstances present here, the court finds that certain

       documents filed in the AFFF Suit qualify as “other paper” sufficient to trigger the

       30-day clock under § 1446(b)(3). There are unique facts in this case that make that

       finding appropriate. Specifically, both this suit and the AFFF Suit involve the same

       plaintiff, the same removing defendant, and the same lawyers; both suits were filed



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       on the same day; they cover largely the same factual and legal issues; and, 3M’s

       basis for its removal of this suit is the alleged inherent link between the claims in

       this suit and the State’s claims in the AFFF Suit.


                B.      Considering the pleadings and other papers that the State provided to
                        3M, 3M could have first ascertained the removability of this suit more
                        than 30 days before its April 29, 2022 notice of removal.

                Here, there is no dispute that the case stated by the initial complaint in this

       suit, standing on its own, was not removable. While the initial complaint covered

       contamination statewide, it did not connect 3M’s supply of AFFF to any military

       sites in New Hampshire. Therefore, the court looks to § 1446(b)(3) to determine

       whether any subsequent papers allowed 3M to ascertain this suit’s removability

       under the federal officer removal statute. See Romulus, 770 F.3d at 72.

                3M did not file its notice of removal in this suit until April 29, 2022, so

       removal was untimely if 3M could first ascertain the removability of this suit under

       § 1442(a)(1) more than 30 days earlier—i.e., prior to March 30, 2022. See 28 U.S.C.

       § 1446(b)(3). The initial complaint in this suit, when considered with the initial

       complaint in the AFFF Suit, clearly and unequivocally stated sufficient facts from

       which 3M could have easily determined the basis for its removal, which is that

       there is plausible overlap in PFAS contamination in areas covered by this suit from

       both MilSpec AFFF and non-AFFF sources. These facts were revealed almost three

       years before March 30, 2022, so 3M’s removal under § 1442(a)(1) was untimely.

                3M makes several arguments in response. To start, 3M asserts that the

       State did not make clear that this suit involved statewide contamination until


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       March 30, 2022. The record proves otherwise. The initial complaint clearly and

       unambiguously alleged that the case involved statewide contamination. That is

       enough. But if it were not, the superior court confirmed that 3M’s “site-by-site”

       viewpoint had no validity in its June 2020 order which described the State’s

       complaint as broadly alleging harm to “all land in the state.” Doc. no. 12-5 at 8.

       The State made that point again in its April 2021 oral argument on defendants’

       motion to dismiss the public trust claim. Doc. no. 23-8 at 11. The State, of course,

       reiterated it one more time on March 30, 2022, but the State repeating what it had

       already made clear does not change when removability was first ascertainable by

       3M. See § 1446(b)(3).

                3M relies on the disclaimer to support its argument that it could not have

       known the case was removable. That is, 3M could not know that the case involved

       MilSpec AFFF because the State expressly disclaimed MilSpec AFFF. 3M’s basis

       for removing this case, however, is that the court should disregard that disclaimer.

       And, whether disclaimers like the State pleaded in these cases are sufficient, as a

       matter of law, to undermine removal jurisdiction under § 1442(a)(1) has been a

       long-running legal question. See, e.g., Hayden, 2015 WL 4730741, at *4 (disclaimer

       effective); Jennings v. Bell Helicopter Textron, Inc., 2012 WL 12883239, at *4 (S.D.

       Cal. Oct. 23, 2012) (finding that disclaimer is ineffective and collecting cases finding

       the same). Thus, 3M’s argument as to removal jurisdiction under § 1442(a)(1) (i.e.,

       the State’s disclaimer is ineffective to defeat removal) was always available to 3M.

       For that reason, it is not a persuasive basis to delay the start of the 30-day clock



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       under § 1446(b)(3). See Dahl v. R.J. Reynolds Tobacco Co., 478 F.3d 965, 970 (8th

       Cir. 2007) (holding that the removing defendant could “ascertain” removability of a

       suit under the federal officer removal statute notwithstanding federal courts’

       competing views about whether federal officer jurisdiction would exist under facts

       like those in the case).

                The Eighth Circuit explained in Dahl that Congress did not intend for

       § 1446(b) to permit a defendant to delay removal simply because it lacked a

       definitive legal basis to support removal jurisdiction. See id. Therefore, so long as

       the plaintiff supplies sufficient facts for the defendant to easily determine that it

       can non-frivolously remove the case under the pertinent statute, the 30-day clock

       under § 1446(b)(3) begins.14 Cf. Universal Truck & Equip. Co., 765 F.3d at 108

       (holding that 30-day clock was triggered for purposes of removal on diversity

       grounds even though plaintiff included non-diverse defendants because it was

       apparent from the face of the complaint that the non-diverse defendants were

       fraudulently joined); Universal Truck & Equip. Co., Inc. v. Caterpillar, Inc., 653

       Fed. Appx. 15, 19 (1st Cir. June 27, 2016) (explaining the decision in Universal

       Truck & Equip Co., 765 F.3d at 108, and stating that the 30-day clock started in

       that case because “[d]efendants knew (or should have known) from the case’s



                Courts have held that an appellate court’s abrogation of a rule that
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       previously foreclosed removal jurisdiction begins the 30-day clock under § 1446(b)(3).
       See Borne v. ANCO Insulations, Inc., No. 20-134-BAJ-RLB, 2020 WL 6277307, at *6
       (M.D. La. Sept. 18, 2020) (finding that 30-day clock for removal began when the Fifth
       Circuit overruled prior precedent about whether § 1442(a)(1) required a causal
       connection or mere nexus). Such a circumstance does not exist here.


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        beginning that they could remove the suit to federal court under diversity

        jurisdiction”).

                The State’s disclaimers in this and the AFFF Suit were always clear and

        unambiguous. Since the beginning of this case, the State has changed neither the

        disclaimer nor the scope of its claims. 3M’s argument that the State’s disclaimer

        was insufficient to defeat removal jurisdiction was obvious from the face of the

        initial complaint, and it was always known to 3M (or always should have been

        known to 3M). For those reasons, the State’s disclaimer did not delay or prevent

        the start of the 30-day clock under § 1446(b). See Universal Truck & Equip Co., 765

        F.3d at 108; Dahl, 478 F.3d at 970.

                3M also argues that removability was not ascertainable because it only

        determined that § 1442(a)(1) was applicable to this suit after it conducted an

        independent investigation which revealed that “contamination from MilSpec AFFF

        sources plausibly overlaps with the putative non-AFFF contamination ostensibly at

        issue in this action.” See doc. no. 30-1 at 10. This argument lacks merit for several

        reasons. First, it was clear from the initial pleadings that there was overlap in the

        areas of contamination covered by the two suits. Because the State alleged from the

        outset that there was overlap in contamination, 3M’s “plausible overlap” theory was

        ascertainable from the initial pleadings.

                Second, if the facts alleged in the pleadings were insufficient for 3M to

        remove under § 1442(a)(1), 3M filled in any remaining blanks when it removed the

        AFFF Suit in July 2019. See Romulus, 770 F.3d at 79 n.9 (stating that the



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        defendant cannot ignore facts that it submitted into the record to support an earlier

        removal); State v. 3M, Case No. 19-cv-800-JD, ECF doc. no. 1 at 8 ¶¶ 20-30

        (discussing history of MilSpec AFFF and of 3M’s supply of MilSpec AFFF in New

        Hampshire). The factual basis for 3M’s removal of this suit is the same as the

        factual basis for its July 2019 removal of the AFFF Suit: 3M’s supply of MilSpec

        AFFF at Pease Air Force Base. Compare doc. no. 1 ¶ 30 (notice of removal in this

        suit) (“MilSpec AFFF released from the Pease Air Force Base plausibly migrates to

        the Great Bay estuary and other surrounding surface waters where it commingles

        with PFAS that derives from other, non-AFFF sources.”), with State v. 3M, Case

        No. 19-cv-800-JD, ECF doc. no. 1 at 8 ¶ 20 (AFFF Suit Notice of Removal) (removal

        justified because the State alleged use of AFFF at Pease Air Force Base). The only

        relevant difference between this suit and the AFFF Suit is the State’s disclaimer of

        recovery for AFFF contamination, and, as discussed, the potential ineffectiveness of

        this disclaimer to undermine removal jurisdiction was apparent from the initial

        pleadings, so it did not obviate 3M’s responsibility to remove within 30 days after

        the State provided sufficient facts for 3M to set forth its plausible overlap theory.

        See Universal Truck & Equip. Co., 765 F.3d at 108; Dahl, 478 F.3d at 970. Because

        the facts alleged in both suits are the same, and the basis for removal in both suits

        is the same, and because 3M could have always raised its legal argument that the

        one difference between the cases—the disclaimer—is ineffective to defeat removal

        jurisdiction, the removal statute required 3M to remove this suit at least within 30

        days of removing the AFFF Suit. See id.



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                The court rejects 3M’s plausible overlap argument for a third reason. If a

        specific location in which plausible overlap in contamination were necessary to

        trigger § 1446(b) notwithstanding the breadth of the State’s initial pleadings or

        3M’s earlier removal of the AFFF Suit on the same grounds, the State’s December

        2021 initial disclosures revealed that the State intended to recover for

        contamination from non-AFFF sources at PSNH Schiller Station in Portsmouth.

        PSNH Schiller Station is near Pease Air Force Base, where it has been undisputed

        from the beginning that 3M supplied MilSpec AFFF. The State also alleged in its

        initial complaints that contamination from both AFFF and non-AFFF sources has

        occurred in tidal estuaries, doc. nos. 1-3 ¶ 2 and 1-5 ¶ 3, and a large, well-known

        tidal estuary—Great Bay—directly abuts Pease Air Force Base. That the locations

        are close to each other is sufficient because the State alleged that PFAS compounds

        migrate “long distances” through soil and groundwater and do not decompose once

        released. Doc. no. 1-3 ¶¶ 45-48 (alleging that “[o]nce these PFAS compounds are

        applied, discharged, disposed of, or otherwise released onto or into the air, soil,

        sediments or water, they migrate through the environment and into groundwater,

        surface water, fish, wildlife, marine resources, and other natural resources.”). 3M

        only needed to apply a “reasonable degree of intelligence,” Cutrone, 749 F.3d at 143,

        to easily determine that PFAS from MilSpec AFFF released at Pease Air Force Base

        plausibly overlaps with non-AFFF contamination at PSNH Schiller Station or Great

        Bay.




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                 3M also relies on Orange County Water District v. 3M Company to support

        its argument against remand. 2022 WL 605630, at *1-2 (9th Cir. Mar. 1, 2022). In

        Orange County Water District, the Ninth Circuit reversed, in an unpublished

        decision, a district court’s remand order based on untimeliness. 2022 WL 605630,

        at *1-2. The Ninth Circuit reasoned that § 1446(b)’s 30-day clock was not triggered

        by an ambiguous statement that military sites were “potential sources” of

        environmental contamination subject to the suit, which involved several

        defendants. Id. The Ninth Circuit held that this statement did not clearly and

        unequivocally connect 3M to the suspected source of environmental contamination

        forming the lawsuit’s basis. Id.

                 Orange County Water District is distinguishable. Here, the State made clear

        and unambiguous in its pleadings that the alleged contamination covered the whole

        of New Hampshire, including certain military sites such as Pease Air Force Base.

        The pleadings added that 3M supplied AFFF to the United States military in New

        Hampshire, which caused contamination of soil and groundwater in New

        Hampshire. And, lastly, the State’s allegations were not conditional or merely

        asserting “potential” contamination by an unspecified defendant; rather, the State

        alleged that 3M had supplied AFFF at military sites in New Hampshire which

        migrated long distances and contaminated land and water throughout the entire

        state.

                 Finally, 3M does not argue that it could not have ascertained the facts to

        assert a colorable federal contractor immunity defense prior to March 30, 2022.



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        Presumably this is because, in its 2019 notice of removal in the AFFF Suit, 3M set

        out all of facts it uses now to assert that defense. And, under Romulus the

        defendant cannot ignore facts that it supplied when it previously put them in the

        record and relied on them. See 770 F.3d at 79 n.9 (stating that defendant was

        under “no duty” to provide facts for removal originally, but defendant “could not

        subsequently ignore” an “uncontested fact” alleged in an earlier attempt at

        removal).


        III.    Summary

                In summary, the court finds two alternative bases on which to remand this

        lawsuit. First, 3M has not shown that a “nexus” exists between the State’s claims

        in this case and its production of AFFF for the United States military. Therefore,

        the elements for removal jurisdiction under the federal officer removal statute,

        § 1442(a)(1), have not been met.

                Second, 3M’s removal was untimely under § 1446(b). Applying a reasonable

        degree of intelligence to the clear and unambiguous facts alleged by the State, 3M’s

        theory for removal (i.e., that PFAS compounds from MilSpec AFFF plausibly

        migrated and commingled with PFAS compounds from other sources) was

        ascertainable more than 30 days before 3M filed its notice of removal in this suit.

        The record reveals at least three triggers for the 30-day clock to begin to run under

        §1446(b)(3) that 3M ignored during the three years of this litigation: the May 2019

        complaint in the AFFF Suit, the July 2019 removal of the AFFF Suit, and the




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        State’s December 2021 initial disclosures. Thus, 3M’s notice of removal filed on

        April 29, 2022, was untimely. See 28 U.S.C. § 1446(b)(3).


                                            CONCLUSION

                For the foregoing reasons, the State’s motion to remand (doc. no. 12) is

        granted. Any pending motions are denied as moot. This case shall be remanded to

        the Merrimack County Superior Court.

                SO ORDERED.



                                                 __________________________
                                                 Landya McCafferty
                                                 United States District Judge


        March 29, 2023

        cc:     Counsel of Record




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       28 U.S.C. § 1442 provides:

       Federal officers or agencies sued or prosecuted

       (a) A civil action or criminal prosecution that is commenced in a State court
       and that is against or directed to any of the following may be removed by
       them to the district court of the United States for the district and division
       embracing the place wherein it is pending:

       (1) The United States or any agency thereof or any officer (or any person
       acting under that officer) of the United States or of any agency thereof, in
       an official or individual capacity, for or relating to any act under color of
       such office or on account of any right, title or authority claimed under any
       Act of Congress for the apprehension or punishment of criminals or the
       collection of the revenue.

       (2) A property holder whose title is derived from any such officer, where
       such action or prosecution affects the validity of any law of the United
       States.

       (3) Any officer of the courts of the United States, for or relating to any act
       under color of office or in the performance of his duties;

       (4) Any officer of either House of Congress, for or relating to any act in the
       discharge of his official duty under an order of such House.

       (b) A personal action commenced in any State court by an alien against any
       citizen of a State who is, or at the time the alleged action accrued was, a
       civil officer of the United States and is a nonresident of such State, wherein
       jurisdiction is obtained by the State court by personal service of process,
       may be removed by the defendant to the district court of the United States
       for the district and division in which the defendant was served with process.

       (c) Solely for purposes of determining the propriety of removal under
       subsection (a), a law enforcement officer, who is the defendant in a criminal
       prosecution, shall be deemed to have been acting under the color of his office
       if the officer--

       (1) protected an individual in the presence of the officer from a crime of
       violence;




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       (2) provided immediate assistance to an individual who suffered, or who
       was threatened with, bodily harm; or

       (3) prevented the escape of any individual who the officer reasonably
       believed to have committed, or was about to commit, in the presence of the
       officer, a crime of violence that resulted in, or was likely to result in, death
       or serious bodily injury.

       (d) In this section, the following definitions apply:

       (1) The terms “civil action” and “criminal prosecution” include any
       proceeding (whether or not ancillary to another proceeding) to the extent
       that in such proceeding a judicial order, including a subpoena for testimony
       or documents, is sought or issued. If removal is sought for a proceeding
       described in the previous sentence, and there is no other basis for removal,
       only that proceeding may be removed to the district court.

       (2) The term “crime of violence” has the meaning given that term in section
       16 of title 18.

       (3) The term “law enforcement officer” means any employee described
       in subparagraph (A), (B), or (C) of section 8401(17) of title 5 and any special
       agent in the Diplomatic Security Service of the Department of State.

       (4) The term “serious bodily injury” has the meaning given that term
       in section 1365 of title 18.

       (5) The term “State” includes the District of Columbia, United States
       territories and insular possessions, and Indian country (as defined
       in section 1151 of title 18).

       (6) The term “State court” includes the Superior Court of the District of
       Columbia, a court of a United States territory or insular possession, and a
       tribal court.




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       28 U.S.C. § 1446 provides:

       Procedure for removal of civil actions

       (a) Generally.

       A defendant or defendants desiring to remove any civil action from a State
       court shall file in the district court of the United States for the district and
       division within which such action is pending a notice of removal signed
       pursuant to Rule 11 of the Federal Rules of Civil Procedure and containing
       a short and plain statement of the grounds for removal, together with a copy
       of all process, pleadings, and orders served upon such defendant or
       defendants in such action.

       (b) Requirements; generally.

       (1) The notice of removal of a civil action or proceeding shall be filed within
       30 days after the receipt by the defendant, through service or otherwise, of
       a copy of the initial pleading setting forth the claim for relief upon which
       such action or proceeding is based, or within 30 days after the service of
       summons upon the defendant if such initial pleading has then been filed in
       court and is not required to be served on the defendant, whichever period is
       shorter.

       (2)(A) When a civil action is removed solely under section 1441(a), all
       defendants who have been properly joined and served must join in or
       consent to the removal of the action.

       (B) Each defendant shall have 30 days after receipt by or service on that
       defendant of the initial pleading or summons described in paragraph (1) to
       file the notice of removal.

       (C) If defendants are served at different times, and a later-served defendant
       files a notice of removal, any earlier-served defendant may consent to the
       removal even though that earlier-served defendant did not previously
       initiate or consent to removal.

       (3) Except as provided in subsection (c), if the case stated by the initial
       pleading is not removable, a notice of removal may be filed within 30 days
       after receipt by the defendant, through service or otherwise, of a copy of an
       amended pleading, motion, order or other paper from which it may first be
       ascertained that the case is one which is or has become removable.

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       (c) Requirements; removal based on diversity of citizenship.

       (1) A case may not be removed under subsection (b)(3) on the basis of
       jurisdiction conferred by section 1332 more than 1 year after
       commencement of the action, unless the district court finds that the plaintiff
       has acted in bad faith in order to prevent a defendant from removing the
       action.

       (2) If removal of a civil action is sought on the basis of the jurisdiction
       conferred by section 1332(a), the sum demanded in good faith in the initial
       pleading shall be deemed to be the amount in controversy, except that--

       (A) the notice of removal may assert the amount in controversy if the initial
       pleading seeks--

       (i) nonmonetary relief; or

       (ii) a money judgment, but the State practice either does not permit demand
       for a specific sum or permits recovery of damages in excess of the amount
       demanded; and

       (B) removal of the action is proper on the basis of an amount in controversy
       asserted under subparagraph (A) if the district court finds, by the
       preponderance of the evidence, that the amount in controversy exceeds the
       amount specified in section 1332(a).

       (3)(A) If the case stated by the initial pleading is not removable solely
       because the amount in controversy does not exceed the amount specified in
       section 1332(a), information relating to the amount in controversy in the
       record of the State proceeding, or in responses to discovery, shall be treated
       as an “other paper” under subsection (b)(3).

       (B) If the notice of removal is filed more than 1 year after commencement of
       the action and the district court finds that the plaintiff deliberately failed to
       disclose the actual amount in controversy to prevent removal, that finding
       shall be deemed bad faith under paragraph (1).

       (d) Notice to adverse parties and State court.--Promptly after the filing of
       such notice of removal of a civil action the defendant or defendants shall
       give written notice thereof to all adverse parties and shall file a copy of the
       notice with the clerk of such State court, which shall effect the removal and



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       the State court shall proceed no further unless and until the case is
       remanded.

       (e) Counterclaim in 337 proceeding.

       With respect to any counterclaim removed to a district court pursuant to
       section 337(c) of the Tariff Act of 1930, the district court shall resolve such
       counterclaim in the same manner as an original complaint under the
       Federal Rules of Civil Procedure, except that the payment of a filing fee
       shall not be required in such cases and the counterclaim shall relate back
       to the date of the original complaint in the proceeding before the
       International Trade Commission under section 337 of that Act.

       (g) Where the civil action or criminal prosecution that is removable under
       section 1442(a) is a proceeding in which a judicial order for testimony or
       documents is sought or issued or sought to be enforced, the 30-day
       requirement of subsection (b) of this section and paragraph (1) of section
       1455(b) is satisfied if the person or entity desiring to remove the proceeding
       files the notice of removal not later than 30 days after receiving, through
       service, notice of any such proceeding.




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                                CERTIFICATE OF COMPLIANCE

                Pursuant to Federal Rule of Appellate Procedure 32(g), undersigned

       counsel certifies that this brief:

                (i)      complies with the type-volume limitation of Rule 29(a)(5) be-

       cause it contains 12,862 words, including footnotes and excluding the parts

       of the brief exempted by Rule 32(f ); and

                (ii)     complies with the typeface requirements of Rule 32(a)(5) and the

       type style requirements of Rule 32(a)(6) because it has been prepared using

       Microsoft Office Word 2016 and is set in Century Schoolbook font in a size

       equivalent to 14 points or larger.



       Dated: July 11, 2023                           /s/ Michael A. Scodro
                                                      Michael A. Scodro
